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1                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
2

3       UNITED STATES OF AMERICA,
                                                              Criminal Action
4                     Plaintiff,                              No. 1: 21-399
5               vs.                                           Washington, DC
                                                              March 1, 2024
6       ROMAN STERLINGOV,
                                                              9:38 a.m.
7                   Defendant.
        __________________________/                           MORNING PROCEEDINGS
8

9                             TRANSCRIPT OF JURY TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                          UNITED STATES DISTRICT JUDGE
11

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1                                P R O C E E D I N G S
2                   THE COURTROOM DEPUTY:      Criminal case 21-399, United

3       States of America versus Roman Sterlingov.

4                   Would counsel please state their names for the

5       record, starting with government counsel.

6                   MS. PELKER:    Good morning, Your Honor.         Alden Pelker

7       for the United States joined at counsel table by Christopher

8       Brown and Jeff Pearlman.

9                   THE COURT:    Good morning.

10                  MR. EKELAND:    Good morning, Your Honor.         Tor Ekeland

11      for Defendant Roman Sterlingov, who is present in court and

12      joining me at counsel table is Michael Hassard.

13                  THE COURT:    All right.    Good morning to you as well.

14                  So we are waiting on two jurors, but my understanding

15      is they are 5 minutes out, so it is not going to be much of a

16      wait.   Just while we are waiting on the jurors, did the parties

17      reach a resolution with respect to the C Sam stuff.

18                  MS. PELKER:    We did, yes, Your Honor.         I believe we

19      passed up to Ms. Walker a proposed stipulation.             And one note,

20      we also passed up -- basically what the government did was we

21      made redacted copies of each.        We added them as additional

22      exhibits on a new exhibit list.        What we actually are going to

23      do is just replace them on the exhibit list, so the Court can

24      disregard the new entries.       They will not be renumbered

25      essentially.     We do have a proposed stipulation on both the
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1       CSAM material and the FinCEN query for Akemashite Omedetou.

2       And we would propose reading these into the records.                Either

3       have the government do it or have the Court do it during

4       witness testimony this morning.

5                   THE COURT:    And is the defense agreeable to the two

6       stipulations?

7                   MS. PELKER:    Yes, Your Honor.

8                   MR. EKELAND:    Yes, Your Honor.

9                   THE COURT:    Okay.      I am happy to do it either way,

10      whichever way the parties want me to do it.              You can either

11      read it and I can tell the jury what a stipulation is or I can

12      read it, whichever the parties prefer.

13                  MS. PELKER:    Either one is fine with the government,

14      Your Honor.

15                  MR. EKELAND:    I think if the Court reads it in, that

16      is fine.

17                  MS. PELKER:    That is fine.

18                  THE COURT:    Let me know when you think I should do

19      that.

20                  MS. PELKER:    I believe we may do the second one

21      first, Your Honor.      And that really can be read in at any time

22      regarding FinCEN.      And then for the CSAM stip, toward the end

23      of Special Agent Santell's testimony when the Welcome to Video

24      records are introduced to explain the redacted boxes.

25                  THE COURT:    Why don't you just tell me as we are
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1       doing that when that should be done and I will do that.                 And

2       then, there are some gavels on the docket still, most of which

3       I think I have ruled on.      But just for purposes of clarity, let

4       me run through some of those while we are waiting.               With

5       respect to the motion to dismiss on venue and statute of

6       limitations grounds.      And I have ruled on that.           And I have

7       denied those motions.

8                   With respect to the motion for discovery under Rule

9       12(b)(4)(B), the government has -- it is my understanding has

10      complied with those disclosure requirements.              And so I will

11      deny that as moot.

12                  With respect to the defense motions that I

13      transfer -- I would order the marshal service to transfer

14      Mr. Sterlingov from the CTF to the CDF, I have spoken on more

15      than one occasion with the Marshal Service about this.                  They

16      have told me that the concerns are precisely the same at the

17      CDF as they are at the CTF.          I have passed along

18      Mr. Sterlingov's preference, but I will deny that motion.

19      Quite frankly, I am not sure I even have the authority to order

20      the marshals service where to hold somebody.              I have spoken to

21      them on a number of occasions about that and conveyed

22      Mr. Sterlingov's concerns.       And my understanding is to the

23      extent they can be addressed, they have been addressed.

24                  There was docket 247, which was the motion to exclude

25      evidence of darknet evidence as outside the statute of
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1       limitations, irrelevant and more prejudicial than probative

2       under 403.    And that is denied for the reasons I have

3       previously stated on the record.           I certainly don't believe

4       that it is more prejudicial than probative.               And I do think

5       that it is -- that evidence is highly probative in the case.

6       And with respect to the statute of limitations, I have

7       addressed the statute of limitations issue already.                 And even

8       if there were not continuing violations at issue here, it

9       would -- the evidence would still be relevant as to the

10      knowledge, the state of mind of the defendant as well as modus

11      operandi.

12                  Docket 248 was the objection with respect to the

13      demonstratives, which I have already denied for the reasons

14      stated on the record.

15                  251 was the defense motion in limine, objecting to

16      the late Rule 16 production.           And I have addressed that already

17      on the record.        That same motion requests that I rule on the

18      Daubert and change of venue motions, which I have done, change

19      of venue or -- I'm sorry -- on the Daubert issues, as well as

20      the motion to dismiss for lack of venue or statute of

21      limitations.     I ruled on those motions.           So that motion is moot

22      to that extent.       That motion also attached updated credentials

23      for Mr. Cabanas and Mr. Verret.           I have raised in the past and

24      I said it was unclear to me whether the defense was seeking

25      reconsideration of any of my decisions with respect to their
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1       qualifications.       And the defense just hasn't come back to me

2       with respect to that.       So I will just deny that as moot.          I am

3       not quite sure what that is intended to convey at this point.

4                   Let's see, there is docket 136 and 137, which is the

5       government's motion to keep certain docket materials under

6       seal, which I will address separately.           There was the motion

7       for a hearing on the attorney conflict.            We have addressed that

8       so that is denied as moot at this point.

9                   There was docket 250, which I have addressed most of,

10      I think, which was the request for the instruction on juror

11      questions, which I -- which I agreed to give.

12                  Explanation on the courtroom phones and sidebars,

13      which I can't remember whether I addressed or not, but I don't

14      think it is necessary at this point.

15                  I have previously addressed the issue with respect to

16      the Mt. Gox hack and testimony about that.             There was a request

17      that I preclude improper commenting or questions during voir

18      dire that is, obviously, moot at this point.

19                  There is the question with respect to maintaining the

20      jury for a forfeiture phase, if necessary.             I have addressed

21      that.   And a request for 24-hour notice for witnesses and that

22      has been addressed as well, so I will deny -- anything that

23      remains of that motion is moot at this point.

24                  Is there anything else that is pending that either

25      party thinks I have not addressed that I need to address?
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1                   MS. PELKER:    Nothing from the government.

2                   THE COURT:    Mr. Ekeland?

3                   I understand we still have the issue with respect to

4       Mr. Verret.

5                   MR. EKELAND:    Yeah.

6                   THE COURT:    Other than that, there may be a couple of

7       other things I need to clean up on the docket.            If there is

8       anything else that you think I need to rule on that I haven't

9       ruled on, let me know.      Should we check to see if we have all

10      of the jurors here?

11                  THE COURTROOM DEPUTY:      Yes, Your Honor.       Give me one

12      second.

13                  (Jury in at 9:23 a.m.)

14                  THE COURT:    All right.    Welcome back, members of the

15      jury.   I have a stipulation to read.

16                  A stipulation is an agreement among the parties with

17      respect to certain facts.      And you should treat a stipulation

18      as undisputed evidence for purposes of your consideration.              And

19      the stipulation is as follows:        The Financial Crimes

20      Enforcement Network, FinCEN, which is the federal government

21      agency with primary responsibility for maintaining reports

22      filed pursuant to the Bank Secrecy Act conducted a diligent

23      search for any FinCEN form 107, registration of money services

24      business, under its control that relates to Akemashite

25      Omedetou.    The records search found no such forms filed by or
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1        on behalf of that individual from January 1st, 2011 through

2        April 27th, 2021.

3                   All right.    And the government may call its next

4        witness.

5                              ALEXANDRA COMOLLI, sworn.

6                   THE WITNESS:     I do.

7                   THE COURTROOM DEPUTY:       Thank you.     Please be seated.

8                   MR. PEARLMAN:     May I, Your Honor?

9                   THE COURT:    You may proceed when you are ready.

10                                 DIRECT EXAMINATION

11       BY MR. PEARLMAN:

12       Q.    Good morning, ma'am.

13       A.    Good morning.

14       Q.    Can you introduce yourself to the ladies and gentlemen of

15       the jury by spelling your name and saying your full name.

16       A.    Good morning.    My name is Alexandra Comolli,

17       C-O-M-O-L-L-I.

18       Q.    Where do you work?

19       A.    I work at the Department of Justice.

20       Q.    Are you an attorney?

21       A.    I am an assistant United States Attorney for the Southern

22       District of Florida.

23       Q.    Is that a prosecutor?

24       A.    I am, yeah.

25       Q.    How long have you been doing that?
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1        A.    Approximately two and a half years now.

2        Q.    Prior to joining that office, where did you work?

3        A.    I was with the Federal Bureau of Investigation.

4        Q.    What was your role there?

5        A.    I was an analyst.

6        Q.    What type of cases did you work on?

7        A.    I worked on cyber cases to start with.          I spent about four

8        and a half years in the cyber division, switched over to the

9        criminal investigative division, where I worked online darknet

10       marketplaces and money laundering.

11       Q.    Did part of that work include undercover work?

12       A.    It did, yes, specifically online though.

13       Q.    So was one of your roles to be an online undercover?

14       A.    That is correct.

15       Q.    What did that entail for you?

16       A.    Yeah.   I would be tasked to assist with different

17       investigations in an undercover capacity, meant that I would go

18       online and complete whatever task that I had been assigned.                It

19       also involved a training course.        I took a week-long training

20       course in order to be certified as an online undercover.

21       Q.    How long did you serve as an undercover?

22       A.    I was certified I believe it was May 2015.           And I served

23       in that capacity until I left the Bureau in September 2021.

24       Q.    What type of cases did you serve as an undercover?

25       A.    The same type of cases that I had been assigned to work
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1        to.

2        Q.    Did you also train others how to be an online undercover?

3        A.    I did, yeah.

4        Q.    Generally speaking, in your work with the FBI, did you

5        become familiar with a service called Bitcoin Fog?

6        A.    I did.

7        Q.    And were you asked to conduct an undercover transaction on

8        the site?

9        A.    Yes.

10       Q.    Did you review -- I want to take you to March 2016.

11       A.    Okay.

12       Q.    Did you have a chance to review the Bitcoin Fog site at

13       that time?

14       A.    I did, yeah.

15       Q.    I want to show you what has been marked as Government

16       Exhibit 208A.    Do you recognize what that is?

17       A.    I do.

18       Q.    What is 208A?

19       A.    This is the top bit of the Bitcoin Fog website, as I

20       observed it in March 2016.

21       Q.    Did you have a chance to take pictures or memorialize your

22       view of the site?

23       A.    Yeah.    I screenshotted everything, although I didn't know

24       how to full page screenshot, so sometimes the page is in half.

25       Q.    Right.   So let's look at 208B.       What is that?
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1        A.     That is the second half of the landing page of Bitcoin

2        Fog.

3                      MR. PEARLMAN:   Move to introduce Government

4        Exhibit 208A and 208B.

5                      THE COURT:   Any objection?

6                      MR. EKELAND:    No objection, Your Honor.

7                      THE COURT:   208A and 208B are admitted and may be

8        published to the jury.

9                      (Whereupon, Exhibit No. 208A, 208B was admitted.)
10       BY MR. PEARLMAN:

11       Q.     So showing the jury 208A and now showing 208B.           Did you

12       have a chance to register on the site?

13       A.     Yes.    At some point, I created an account.

14       Q.     Let me show you 208C.     Do you recognize that?

15       A.     Yeah.   That is the page after you have logged in or after

16       I logged into Bitcoin Fog.

17                     MR. PEARLMAN:   Move to introduce Government

18       Exhibit 208C.

19                     THE COURT:   Any objection?

20                     MR. EKELAND:    No objection.

21                     THE COURT:   208C is admitted and may be published to

22       the jury.

23                     (Whereupon, Exhibit No. 208C was admitted.)
24       BY MR. PEARLMAN:

25       Q.     Can you read the portion beginning with the standard
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1        procedure?

2        A.    Yep.   "The standard procedure to anonymize Bitcoins is to

3        make a deposit at the deposit page and after some time request

4        a withdrawal."

5        Q.    Keep going.

6        A.    "Your Bitcoins are mixed in our internal pool with other

7        users' Bitcoins and then get paid back to your new address or

8        multiple addresses in a number of randomized amounts at

9        randomized times, thus making it highly unlikely to trace the

10       origin of your Bitcoins and definitely making it impossible to

11       prove.   We make your Bitcoins truly anonymous.           The service

12       currently only takes between 1 percent and 3 percent fee on all

13       deposits.    The fee is randomized for each deposit to further

14       obscure linking money going into and out of the Fog."

15       Q.    Let me turn your attention to 208D, which has not been

16       admitted.    Do you recognize this page?

17       A.    This is the deposit page for Bitcoin Fog.

18       Q.    Is this something you were able to access after you had

19       already registered?

20       A.    Correct.

21                    BY MR. PEARLMAN:   Move to introduce Government

22       Exhibit 208D, as in dog.

23                    THE COURT:   Any objection?

24                    MR. EKELAND:   No objection, Your Honor.

25                    THE COURT:   208D is admitted and may be published to
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1        the jury.

2                    (Whereupon, Exhibit No. 208D was admitted.)
3        BY MR. PEARLMAN:

4        Q.    And I am going to direct your attention about one third of

5        the way down.    Do you see a deposit address that begins with

6        18EUE1?

7        A.    Yes, I do.

8        Q.    What did you understand that to be?

9        A.    That was the address that was going to be tied to my

10       Bitcoin Fog account.     So if I wanted to send money to Bitcoin

11       Fog to use their service, that would be the deposit address I

12       would use.

13       Q.    Show you what has not been admitted yet as 208E.                Do you

14       recognize 208E?

15       A.    Yes, I do.

16       Q.    What is that?

17       A.    This is the same deposit page, however I had asked the

18       site for a new deposit address, which is what you see

19       immediately under the original deposit address, which is the

20       address beginning 148D8.

21                   MR. PEARLMAN:    Move to introduce Government

22       Exhibit 208E.

23                   THE COURT:   Any objection?

24                   MR. EKELAND:    No objection.

25                   THE COURT:   208E is admitted and may be published to
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1        the jury.

2                     (Whereupon, Exhibit No. 208E was admitted.)
3        BY MR. PEARLMAN:

4        Q.    So, again, you had the 18EUE which you testified that

5        deposit address and then you created another deposit address;

6        is that right?

7        A.    Correct.

8        Q.    And that you testified was 148D8A?

9        A.    Correct.   That was the one that -- when I requested the

10       new deposit address that is what was generated for me, yes.

11       Q.    Let me show you Government Exhibit not yet admitted, 208F.

12       Do you recognize that?

13       A.    Yeah.   That is the withdrawal page for Bitcoin Fog.

14       Q.    And do you see where it says list of addresses?

15       A.    Yes.

16                    MR. PEARLMAN:   I would move to introduce Government

17       Exhibit 208F.

18                    THE COURT:   Any objection?

19                    MR. EKELAND:    No objection.

20                    THE COURT:   208F is admitted and may be published to

21       the jury.

22                    (Whereupon, Exhibit No. 208F was admitted.)
23       BY MR. PEARLMAN:

24       Q.    So if you can go to the upper right-hand part of the

25       screen, you should be able to use that to draw.
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1        A.    Uh-huh.

2        Q.    Do you see that button on the upper right-hand part of the

3        screen?

4        A.    I see it, yeah.

5        Q.    So can you just draw a circle around the list of addresses

6        to transfer Bitcoins to?

7        A.    (Complying).

8        Q.    And do you see an area where it says time span?

9        A.    Yes.    Right here.

10       Q.    Can you read what that says?

11       A.    "Specify how many hours should transactions be spread

12       across, minimum 6 hours, max 96 hours."

13       Q.    Do you see anywhere where it says delay?

14       A.    Yes, right below it.

15       Q.    Could you read that as well, please?

16       A.    Yeah.   It says, "Number of hours to wait before starting

17       withdrawal.     Using this value will make your withdrawal be

18       created in pending mode and, of course, be canceled afterwards,

19       max 48 hours."

20       Q.    And then if you could hit that button again and erase the

21       marks.

22                    THE COURT:   You can approach if you want to show her

23       how to do it.

24                    THE COURTROOM DEPUTY:     I have to get IT up.           I am not

25       sure why it is not clearing.
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1                   MR. PEARLMAN:      I think we can probably keep going.

2                   THE COURT:     Maybe if we turn the screen off and back

3        on.

4                   THE COURTROOM DEPUTY:         I did that, Judge.

5                   THE COURT:     If you turn your system off here, maybe

6        the portion that you attach with may be back on and off.

7                   You should continue, yes.

8                   MR. PEARLMAN:      Okay.

9        BY MR. PEARLMAN:

10       Q.     Did you also access what was a support page on Bitcoin

11       Fog?

12       A.     I did, yeah.

13                  MR. PEARLMAN:      Okay.    Show Government Exhibit 208G,

14       which has not yet been admitted, please.

15                  THE COURTROOM DEPUTY:         I didn't hear you. 208?

16                  MR. PEARLMAN:      208G.

17       BY MR. PEARLMAN:

18       Q.     Is this another view of the withdrawal page?

19       A.     Yeah.

20       Q.     This is just the bottom half of the withdrawal page.

21       A.     All right.

22       Q.     I want to take you to July --

23                  THE COURT:     Did you want to admit that one or not?

24                  MR. PEARLMAN:      Yes, I'm sorry.          Move to admit 208G.

25                  THE COURT:     Any objection?
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1                    MR. EKELAND:    No objection.

2                    THE COURT:   208G is admitted and may be published to

3        the jury.

4                    (Whereupon, Exhibit No. 208G was admitted.)
5        BY MR. PEARLMAN:

6        Q.    You see the bottom there, submit withdrawal?

7        A.    Yeah.   That is the big blue button I press when I am

8        trying to complete the withdrawal.

9        Q.    Now, in March 2016, to be clear, did you attempt to do a

10       transaction at that time?

11       A.    No.

12       Q.    I want to take you to July 2016.        Did you attempt to do a

13       transaction on that day?

14       A.    To July, you said?

15       Q.    I'm sorry, June 2016.

16       A.    June, yes, I did.

17       Q.    I'm sorry.     July 26, 2016?

18       A.    July, you said, July 26?      Yeah, that was the correct day.

19       Yeah.

20       Q.    And where were you located, what district or state?

21       A.    I was in the District of Columbia.

22       Q.    Let me show you 209A, not yet admitted into evidence.            Do

23       you recognize this screen?

24       A.    Yes, I do.

25       Q.    Is this part of what you saw on Bitcoin Fog at that time?
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1        A.    Yes.

2                     MR. PEARLMAN:   Move to admit 209A.

3                     THE COURT:   Any objection?

4                     MR. EKELAND:    No objection.

5                     THE COURT:   209A is admitted and may be published to

6        the jury.

7                     (Whereupon, Exhibit No. 209A was admitted.)
8        BY MR. PEARLMAN:

9        Q.    Okay.   About a third of the way down, do you see a deposit

10       address?

11       A.    Yes, I do.

12       Q.    Can you just read the first five or six characters of

13       that?

14       A.    Sure.   1Nuf3K1k.

15       Q.    Now, let me show you marked for identification purposes as

16       209B, as in boy.     Do you recognize that?

17       A.    Yeah.   That is the same Bitcoin address we just saw on the

18       Bitcoin Fog website.

19       Q.    That is over on the left-hand side where it says address?

20       A.    Yes.    Correct.

21       Q.    And why did you go to blockchain info?

22       A.    I wanted a source independent from the website that I was

23       on that showed this address had no transaction history.

24                    MR. PEARLMAN:   Okay.    Move to introduce Government

25       Exhibit 209B.
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1                   THE COURT:    Any objection?

2                   MR. EKELAND:     No objection.

3                   THE COURT:    Exhibit 209B is admitted and may be

4        published to the jury.

5                   (Whereupon, Exhibit No. 209B was admitted.)
6        BY MR. PEARLMAN:

7        Q.    And, again, this is the screen with the -- where you went

8        to blockchain.info?

9        A.    Correct.

10       Q.    And the address of 1Nuf3K is on there?

11       A.    Correct.

12       Q.    And is that the same address that was provided to you by

13       Bitcoin Fog in the previous exhibit?

14       A.    Yes, that is right.

15       Q.    Now let me show you Government Exhibit for identification

16       purpose as 209C.     Are you familiar with a service called

17       Coinapult?

18       A.    Yes, I am.

19       Q.    What is that?

20       A.    That is just an online wallet service.

21       Q.    Did you establish an account there?

22       A.    I did.

23       Q.    Is this Government Exhibit 209C, is that a reflection of

24       something done to your account with respect to doing a

25       transaction on Bitcoin Fog?
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1        A.    Yes.    So this -- what this shows is my Coinapult wallet

2        that -- where I am sending a payment or sending a transaction.

3        Q.    So they are not seeing it yet, I'm sorry.

4                     BY MR. PEARLMAN:   Let me move to introduce 209C.

5                     THE COURT:   Any objection?

6                     MR. EKELAND:    No objection.

7                     THE COURT:   Exhibit 209C is admitted and may be

8        published to the jury.

9                     (Whereupon, Exhibit No. 209C was admitted.)
10       BY MR. PEARLMAN:

11       Q.    Now forgive me.     If you could explain what the jury is

12       looking at.

13       A.    Sure, of course.      So what I was doing here was sending the

14       contents of my Coinapult wallet to the address that Bitcoin Fog

15       had given me that was assigned to my account there.

16       Q.    And is that the same 1Nuf3K?

17       A.    Correct, yes.    So I sent the full balance of this wallet

18       .12628.

19       Q.    Let me show you 209D, as in dog, for identification

20       purposes.     Is this another Coinapult screen reflecting work on

21       your account?

22       A.    Yeah.   This is just the transactions page, yep.

23                    MR. PEARLMAN:   Move to introduce Government

24       Exhibit 209D.

25                    THE COURT:   Any objection?
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                        DIRECT EXAMINATION OF ALEXANDRA COMOLLI                  23

1                     MR. EKELAND:    No objection.

2                     THE COURT:   Exhibit 209D is admitted and may be

3        published to the jury.

4                     (Whereupon, Exhibit No. 209D was admitted.)
5        BY MR. PEARLMAN:

6        Q.    Could you show the -- explain to the jury what you are

7        looking at now?

8        A.    Yes.    So this is the transaction history page for my

9        Coinapult wallet.     You can see the outgoing payment on Tuesday,

10       July 26.     And it is going from my Coinapult wallet to the

11       address provided to me that is associated with my account at

12       BitcoinFog.

13       Q.    And what is the amount?

14       A.    The amount is .1628.

15       Q.    Let me show you for identification purposes 209F.               Is 209F

16       another series of screenshots for this transaction?

17       A.    Yeah.   209F shows -- this is just a page for Bitcoin Fog

18       that shows the deposit had come in.

19                    MR. PEARLMAN:   Move to introduce 209F.

20                    THE COURT:   Any objection?

21                    MR. EKELAND:    No objection.

22                    THE COURT:   209F is admitted and may be published to

23       the jury.

24                    (Whereupon, Exhibit No. 209F was admitted.)
25       BY MR. PEARLMAN:
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1        Q.    So do you see there where it says logged in as?

2        A.    Yeah.

3        Q.    So who is it logged in as?

4        A.    It is logged in as Bobcat 7.

5        Q.    Who is Bobcat 7?

6        A.    I am Bobcat 7.

7        Q.    Is that a name that you gave yourself?

8        A.    It is the name of the account that I created, yes.

9        Q.    And what is the amount for the first four digits of the

10       account balance now?

11       A.    It is .1597.

12       Q.    What was your understanding as to -- what is your

13       understanding as to whether that is more or less than what you

14       deposited?

15       A.    That is less than what I had sent to the service.

16       Q.    Did you have an understanding as to why that was?

17       A.    Yeah, it was less a fee.

18       Q.    Did you then seek to conduct another transaction involving

19       Bitcoin Fog?

20       A.    Yes.    It would be the withdrawal transaction.

21       Q.    So let me show you for identification purposes 209E.

22             Do you recognize 209E?

23       A.    I do.

24       Q.    Is that another screenshot concerning this transaction?

25       A.    Yeah.   This is another wallet that I had, uh-huh.
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                       DIRECT EXAMINATION OF ALEXANDRA COMOLLI                    25

1                    MR. PEARLMAN:    Move to introduce Government

2        Exhibit 209E.

3                    THE COURT:   Any objection?

4                    MR. EKELAND:    No objection.

5                    THE COURT:   209E is admitted and may be published to

6        the jury.

7                    (Whereupon, Exhibit No. 209E was admitted.)
8        BY MR. PEARLMAN:

9        Q.    So can you explain to the jury what they are looking at?

10       A.    Yeah.   This is another undercover wallet I had created on

11       blockchain.info, which also provided wallet services.                 And this

12       particular screenshot shows the address beginning 15DB1Q.                That

13       address was assigned to my wallet at blockchain.info.

14       Q.    So that is your address?

15       A.    That is my address that is -- well, it is the Bureau's

16       address.

17       Q.    Let me show you 209G for identification.           And is this

18       another screenshot concerning this transaction?

19       A.    Yeah.   So what I did was, I just copied and pasted the

20       address that -- for that wallet.        That is where I wanted the

21       money to go.    And I put it right in here.

22                   MR. PEARLMAN:    Move to admit 209G.

23                   THE COURT:   Any objection?

24                   MR. EKELAND:    No objection, Your Honor.

25                   BY THE COURT:    209G is admitted and may be published
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1        to the jury.

2        BY MR. PEARLMAN:

3        Q.    Okay.    So halfway down is there another address that is

4        listed for withdrawal?

5        A.    Yeah.    So that is the address that was in my

6        blockchain.info wallet.      I copied and pasted it right into this

7        text box here, beginning 1DB1Q.

8        Q.    And --

9        A.    My apologies.    15DB1Q.

10       Q.    What is the address of your withdrawal?

11       A.    The full balance of my account of Bitcoin Fog.

12       Q.    Let me show you 209H for identification.           Did you -- is

13       this another screenshot in this transaction?

14       A.    Yeah.

15                   MR. PEARLMAN:    Move to introduce 209H.

16                   THE COURT:   Any objection?

17                   MR. EKELAND:    No objection.

18                   THE COURT:   209H is admitted and may be published to

19       the jury.

20                   (Whereupon, Exhibit No. 209H was admitted.)
21       BY MR. PEARLMAN:

22       Q.    I just want to know what is the time span there?

23       A.    The time span is six, that was the minimum, six hours.

24       Q.    Now, let me show you 209I for identification.            Do you

25       recognize this as another part of the transaction?
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1        A.    I do, yes.

2                    MR. PEARLMAN:    Move to introduce 209I.

3                    THE COURT:   Any objection?

4                    MR. EKELAND:    No objection.

5                    THE COURT:   209I is admitted and may be published to

6        the jury.

7                    (Whereupon, Exhibit No. 209I was admitted.)
8        BY MR. PEARLMAN:

9        Q.    What are we seeing on this?

10       A.    Yeah.   So this is just a page to review your withdrawal.

11       So it has got that cat CAPTCHA there where you had to figure

12       out what letters there were.        And then the rest of it above it

13       is just explaining -- these are the details of the transaction.

14       Do you still want to move forward with it?

15       Q.    Let me show you 209J.     And is this you completing the

16       CAPTCHA?

17       A.    Yeah.

18                   MR. PEARLMAN:    Move to introduce 209J.

19                   THE COURT:   Any objection?

20                   MR. EKELAND:    No objection.

21                   THE COURT:   209J is admitted and may be published to

22       the jury.

23                   (Whereupon, Exhibit No. 209J was admitted.)
24       BY MR. PEARLMAN:

25       Q.    Again, is this you completing the CAPTCHA?
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1        A.    Correct.

2        Q.    Let me show you now 209L for identification purposes.            And

3        is this another part of the transaction?

4        A.    Yes, it is.

5                     MR. PEARLMAN:   Move to introduce 209L.

6                     THE COURT:   Any objection?

7                     MR. EKELAND:    No objection.

8                     THE COURT:   209L was admitted and may be published to

9        the jury.

10                    (Whereupon, Exhibit No. 209L was admitted.)
11       BY MR. PEARLMAN:

12       Q.    Does this reflect whether the withdrawal is going to

13       occur?

14       A.    Yeah.   I -- on that last page, I hit the submit button,

15       the blue one.    And this shows that the transaction was

16       happening, yes.

17       Q.    And let me show you finally 209M.         Did you return to

18       blockchain.info?

19       A.    I did, yeah.

20       Q.    Is this another reflection of what occurred with the

21       transaction?

22       A.    Yes.    So this is the blockchain -- this was -- I'm sorry.

23       This shows my address for my blockchain.info wallet and it

24       shows the transaction history of that wallet, yeah.

25                    MR. PEARLMAN:   Move to introduce 209M.
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 29 of 146
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1                     THE COURT:    209 -- any objection?

2                     MR. EKELAND:    No objection.

3                     THE COURT:    209M is admitted and may be published to

4        the jury.

5                     (Whereupon, Exhibit No. 209M was admitted.)
6        BY MR. PEARLMAN:

7        Q.    Okay.   You testified before about the 15DB1 that is your

8        account?

9        A.    Yes.    Correct.

10       Q.    Or the FBI's account?

11       A.    Correct.   Yeah.

12       Q.    So what does this screen reflect now?

13       A.    Yeah.   So this shows there are two transactions coming

14       into that address on July 26th, 2016.

15       Q.    And do those two total the amount that you withdrew?

16       A.    Yes, they do.

17                    MR. PEARLMAN:   Pass the witness, Your Honor.

18                    THE COURT:    All right.   Any cross?

19                    MR. EKELAND:    No questions, Your Honor.

20                    THE COURT:    All right.   You are excused.       Thank you.

21                    THE WITNESS:    Thank you, Your Honor.

22                    THE COURT:    The government may call its next witness.

23                    MS. PELKER:    The government calls Special Agent

24       Steven Santell.

25                    Ms. Walker, if it helps for this witness, if it's
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1        fine with defense counsel, there are a couple cells in

2        spreadsheets that we would select.         But we could ask Dr. Ramjee

3        to just click on them rather than circle on the screen so we

4        don't have an issue.       Is that --

5                     MR. EKELAND:    I didn't hear what you said.

6                     MS. PELKER:    Instead of having the witness circle on

7        the screen, which seems to be causing issues, we can click and

8        ask Dr. Ramjee to select them.

9                     THE COURTROOM DEPUTY:      Thank you.

10                    THE COURT:    Thank you, Ms. Walker.

11                    Ms. Walker has every duty now too.         We have to swear

12       the witness.

13                                 STEVEN SANTELL, sworn.

14                    THE WITNESS:    I do.

15                    THE COURTROOM DEPUTY:      Thank you.     Please be seated.

16                                   DIRECT EXAMINATION

17       BY MS. PELKER:

18       Q.    Special Agent Santell, could you please state and spell

19       your full name?

20       A.    Steven Santell; S-T-E-V-E-N, S-A-N-T-E-L-L.

21       Q.    Could you just pull the microphone down a bit so that the

22       court reporter can hear you?

23       A.    Is that a little better?

24       Q.    Yes.   Thank you, Agent Santell, where do you work?

25       A.    I work at the FBI.
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1        Q.    How long have you worked with FBI?

2        A.    Since 2022.

3        Q.    What did you do before joining the FBI?

4        A.    Before I joined the FBI, I was a software developer.

5        Q.    What did your work as a software developer involve?

6        A.    It primarily built out the infrastructure for database

7        systems in the front and back end for companies' internal and

8        external websites.

9        Q.    Can you summarize your educational background?

10       A.    I have a bachelor's of science in computer science.

11       Q.    Have you had additional training in cyber matters since

12       joining the FBI?

13       A.    I have.   I completed the FBI's accelerated cyber training

14       program and the certification in Chainalysis Reactor course.

15                  MR. EKELAND:     Objection, Your Honor.        Could we pick

16       up the phone for one moment?

17                  (Conference held at the bench.)

18                  MS. PELKER:     We are -- this is really just quick

19       background.     He is not talking about anything.         I have got two

20       more background questions and then we just have him reading

21       from spreadsheets.

22                  MR. EKELAND:     Okay, Your Honor.        That was my concern

23       was a 702 concern.     I couldn't tell where it was going.            As

24       long as that is -- I have no reason to disbelieve that

25       representation, so withdrawn.
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1                     THE COURT:   We'll know whether it is true very soon.

2                     MR. EKELAND:   Yes.

3                     (End of bench conference.)

4        BY MS. PELKER:

5        Q.    And what squad are you assigned to at the FBI?

6        A.    A criminal cyber task force.

7        Q.    And what types of cases do you work on there?

8        A.    Primarily, my cases consisted mostly of ransomware cases,

9        forums, marketplaces, and a little bit of business email

10       compromises.

11       Q.    And have some of your investigations involved

12       cryptocurrency and the darknet?

13       A.    So far, every single one of my investigations have

14       involved cryptocurrency.

15       Q.    From your work at the FBI, are you familiar with darknet

16       marketplaces?

17       A.    Yes.

18       Q.    Can you explain what a darknet marketplace is?

19       A.    Sure.   A darknet marketplace is just like any other

20       marketplace, but in order to access them, you can't really go

21       to Google.    You need to access them on like a Tor browser.

22       There is marketplaces that, you know, are typically used for,

23       you know, buying and selling illegal activity.

24       Q.    And what sorts of things are sold on darknet marketplaces

25       that you --
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1        A.    My experience, I seen drugs be bought and sold on there,

2        even like murder-for-hire contracts.         You can purchase really

3        just any type of illegal thing that you are looking for.

4        Q.    In the cybercrime context, have you seen hacking tools --

5        A.    Yeah.

6                   MR. EKELAND:     Objection, Your Honor, relevance.

7                   MS. PELKER:     We are just laying the foundation of

8        what is being sold on the markets that he is about to testify

9        to.

10                  THE COURT:    Overruled.

11                  THE WITNESS:     So we have seen, for instance, like

12       ransomware being sold on darknet market forums, as well as

13       people advertising the ability to intrude into other computers,

14       to just essentially hold the door open to all of the threats

15       after to come in and release ransomware or I am sure everyone

16       has probably been a victim in some way of data compromise.             We

17       seen data being sold on these darknet markets as well.

18       BY MS. PELKER:

19       Q.    Does that include stolen identification documents as well

20       as the stolen financial information?

21       A.    Yeah, it can include that.

22       Q.    How do people pay for things on darknet markets?

23       A.    Typically they pay for them in cryptocurrency.

24       Q.    In your work for this case, did you review records from

25       the marketplace Silk Road?
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                          DIRECT EXAMINATION OF STEVEN SANTELL                 34

1        A.     I did.

2        Q.     What was Silk Road?

3        A.     Silk Road was a darknet market.

4        Q.     And did the FBI ultimately take down Silk Road and seize

5        its servers?

6        A.     They did.

7        Q.     And as part of that investigation, did the FBI acquire

8        Silk Road's records that it had been collecting at the time?

9        A.     They did.

10       Q.     Did you review records from those select records for Silk

11       Road users in preparation for your testimony today?

12       A.     I did.

13       Q.     Showing you what is not yet in evidence as Exhibit 602A.

14       Agent Santell, can you explain what is shown here?

15       A.     Sure.    So this is the Silk Road.     It is essentially the

16       home page for Silk Road.

17       Q.     And this is a fair and accurate depiction of the Silk Road

18       home page as it existed when the records were obtained by the

19       FBI?

20       A.     Yeah.

21                   MS. PELKER:    Move to admit Exhibit 602A.

22                   THE COURT:    Any objection?

23                   MR. EKELAND:    Hearsay and relevance and 403.

24                   THE COURT:    602A is admitted and may be published to

25       the jury.
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1                     (Whereupon, Exhibit No. 602A was admitted.)
2        BY MS. PELKER:

3        Q.    Special Agent Santell, can you explain what is shown here,

4        especially kind of front and center with these photographs?

5        A.    Yeah.   So essentially this is -- what you can see is for

6        sale on there.       You can see that there is pure MDMA and there

7        is a photo of it as well, another photo of like 7 grams of

8        speed, just a quick, you know, when you are looking at some of

9        these examples that are on there.

10       Q.    And is this what a visitor to Silk Road would have seen

11       when they first accessed the site's home page?

12       A.    Yes.

13       Q.    Can you explain what is shown along the left-hand side

14       under shop by category?

15       A.    Yeah.   So it is your standard categories.           I know, you

16       know, you can see there is drugs, apparel, art, books,

17       collectibles.    It is whatever you are looking for is on there.

18       You can also see like in the drugs area there is broken down

19       into subsections, so not only is it drugs, but it gets more

20       specific, from there, cannabis, dissolvatives, Ecstasy,

21       intoxicants and the list goes on.

22       Q.    What do the numbers next to those categories indicate?

23       A.    It stands for -- so for drugs there are 3,802 listed items

24       in drugs.     And then they break it down into subcategories.            So

25       for cannabis there is 2,906 listed items there.
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1        Q.    And what is that search bar at the top in the center?

2        A.    Yep.   So the search bar, just like if you go to Amazon,

3        you want to type something in, it helps you identify the search

4        instead of you meticulously going through and trying to find

5        something.

6        Q.    What about above that, where it says messages and then

7        reading across to the right?

8        A.    So when you create an account on here, you have the

9        ability to message the users on here as well, whether it is

10       vendors -- typically the vendors themselves.           You also have

11       your orders and then you see the account.            The account is just

12       how much money you currently have in your account to purchase

13       things.

14       Q.    And it might be difficult to zoom in here.           Is that a

15       dollar sign or something else before the zero sign?

16       A.    So in the green text you will see it is B for Bitcoin.

17       Everything on the Silk Road is essentially bought and sold via

18       Bitcoin.     And then next to it in like the gray kind of section,

19       it is dollars so it shows the US conversion from that Bitcoin

20       to dollars.

21       Q.    And how would a user load their account to Silk Road with

22       money?

23       A.    Essentially you use different cryptocurrency exchanges to,

24       from there, I guess input whatever typical currency they want.

25       And then from there they would transfer Bitcoin to their
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1        account on Silk Road.

2        Q.    If we could zoom back out.       Can you explain what is the

3        shopping cart icon on that upper right-hand corner?

4        A.    Yep.   Shopping cart works just like -- I am going to keep

5        referring to Amazon.       Where if you want to put a different list

6        of your items in there, you put them right in that shopping

7        cart and when you are ready to check out, you click on that and

8        the product can be yours.

9        Q.    I am going to ask if we can try and speak a little bit

10       slower for the court reporter.

11       A.    That I can.

12       Q.    If we could pull up Exhibit 602B, which is not yet in

13       evidence.    What is shown in 602B?

14       A.    This is one of the items that are for sale on the Silk

15       Road.   We can see that it is a photo listed there.            And it is 1

16       gram of crystal meth shards.

17       Q.    Is this a fair and accurate depiction of the listing as it

18       existed on Silk Road at the time?

19       A.    It is.

20                    MS. PELKER:    Move to admit Government Exhibit 602B.

21                    THE COURT:    Can you just clarify what time you are

22       talking about?

23       BY MS. PELKER:

24       Q.    As it existed on Silk Road when the records were acquired

25       by the FBI?
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1        A.    That is correct.

2                   THE COURT:     Yeah.      I just wanted -- I wanted to know

3        what time frame that was.

4        BY MS. PELKER:

5        Q.    In 2013?

6        A.    Correct.

7                   THE COURT:     Any objection?

8                   MR. EKELAND:      401, 403, 803, cumulative.

9                   THE COURT:     Overruled.

10                  Exhibit 602 is admitted and may be published to the

11       jury.

12                  (Whereupon, Exhibit No. 602 was admitted.)
13       BY MS. PELKER:

14       Q.    Special Agent Santell, can you explain what is shown in

15       this listing here for crystal meth?

16       A.    In the description, you mean?

17       Q.    So the jury can now -- they can now see it.             Can you walk

18       them through what you were describing?

19       A.    So if you look on the screen here, we see that this is one

20       of the items that are listed for sale.            You can see an image of

21       a crystal meth shard and the title of it.              As you can see, it

22       is 1 gram of crystal meth shards.          You can see it is listed for

23       sale for $115.       And you can see the category over on the

24       right-hand column which is meth.

25       Q.    And can you read the description in the lower portion of
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 39 of 146
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1        the screen?

2        A.    Sure.   "Free shipping within US.       Fresh batch of nice

3        clean shards grams 1/8s, ounce zones, zones, custom orders,

4        stealth shipping, down under and around the globe, large

5        qualities are available upon request."

6        Q.    What is the price listed for this 1 gram of crystal meth?

7        A.    115 USD.

8        Q.    And would that have actually been paid in dollars or in

9        Bitcoin?

10       A.    No, that would have been paid in Bitcoin.

11       Q.    Where does this indicate -- listing indicate it is

12       shipping from?

13       A.    So if you look over to the right-hand side under the item

14       info, you can see it ships from the United States of America

15       and ships to the rest of the world.

16       Q.    So if a Silk Road user wanted to buy the meth that is

17       shown here, what would he or she have to do?

18       A.    Sure.   So you can add it to your cart and then access your

19       cart and then check out, same kind of process as Amazon.

20       Q.    Can you -- maybe with Dr. Ramjee's assistance if we can

21       note under the $115 where you would click at?

22       A.    So if you see where the $115 is in red, right below, there

23       is that add to cart button, once that is selected, you see all

24       of the way to the top right, you will see the little cart icon.

25       It would add another number to that.
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1        Q.    Once it was in the cart, what would the buyer do to

2        essentially check out?

3        A.    Yep.   So in order to check out, I guess the money would

4        then on the screen be converted into Bitcoin.            And I guess that

5        transaction would follow from there once you hit the procedure

6        check out button the transaction then begins.

7        Q.    Did Silk Road keep records of all of the sales conducted

8        on the site?

9        A.    It did.

10       Q.    Did you review records for the defendant's Silk Road

11       account with the username Pas?

12       A.    I did.

13       Q.    If we could direct your attention to what is not in

14       evidence 603C, E, F, H, N, S and J.         And I believe C and F are

15       already in evidence, but if we can look at them as a batch

16       here.

17             And, Special Agent Santell, are these fair and accurate

18       reflections of the activity of the defendant's Pas account on

19       Silk Road as collected by the FBI in 2013?

20       A.    Yes.

21                    MS. PELKER:    Government moves to admit C, E, F --

22       603C, E, F, H, N, S and J.

23                    THE COURT:    All right.   Any objection?

24                    MR. EKELAND:   401, 403, 803.

25                    THE COURT:    All right.   The objection is overruled
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1        and Exhibit 603C, E, F, H, N, S and J are admitted and may be

2        published to the jury.

3                     (Whereupon, Exhibit No. 603C, E, F, H, N, S and J
4        were admitted.)
5        BY MS. PELKER:

6        Q.    Special Agent Santell, just to be clear, was the FBI's

7        Bitcoin Fog investigation based on the defendant's personal

8        drug purchases on Silk Road?

9        A.    No.

10       Q.    But do those records reveal the defendant used and was

11       familiar with Silk Road?

12       A.    Correct.

13       Q.    Directing your attention to 603C, the user's table here.

14       Is this the user record for the defendant's Pas account?

15       A.    Yes.

16       Q.    And if we could just select on the screen the Pas username

17       in column C.     And scrolling to the far right in the last two

18       columns here.     Can you note what the date was that the Pas

19       account was created?

20       A.    Yep.   In column BA, date created was 7/13/2011.

21       Q.    And what about the last date modified?

22       A.    The BB, the last date modified was 6/12/2013.

23       Q.    And on the column AX, the last action date?

24       A.    Last action date, was 9/15/2023.        I'm sorry.      2013, excuse

25       me.
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1        Q.    Did you review the records of some of the defendant's drug

2        purchases using this Silk Road account?

3        A.    I did.

4        Q.    Directing your attention to 603H.         Is this the last

5        recorded purchase in the defendant's Silk Road account?

6        A.    Yes.

7        Q.    And column A, could you read the listing title of what the

8        defendant purchased?

9        A.    Yep.   10 ST LSD.

10       Q.    And over on column F, what was the date this order was

11       finalized?

12       A.    6/30/2013.

13       Q.    Did Silk Road also store older transactions in archive

14       tables?

15       A.    They did.

16       Q.    Directing your attention to 603S.         Is this the archive

17       record from the defendant's early Silk Road purchases?

18       A.    It is.

19       Q.    And can you read down the descriptions noted in column C?

20       A.    The categories tab is LSD and crystal powder.

21       Q.    And in --

22                    THE COURT:   Can I pause for a second here.         I want to

23       make clear for the jury that nothing in this case turns on

24       whether or not Mr. Sterlingov used or purchased any illegal

25       drugs.    And you shouldn't consider this evidence in that regard
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 43 of 146
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1        or in any way with respect to his character in any way.               This

2        evidence is only coming in to show his -- for the government to

3        attempt to show what his knowledge was with respect to Silk

4        Road.

5        BY MS. PELKER:

6        Q.    Directing your attention to column I for this second row.

7        What date was that first order placed?

8        A.    First order was created and placed on 7/15/2011.

9        Q.    Did you also review messages that the defendant sent to

10       several vendors using Silk Road?

11       A.    I did.

12       Q.    Let's now turn to Silk Road vendors who sent the proceeds

13       to Bitcoin Fog.      If we could pull up what is in evidence as

14       Exhibit 601 --

15                   MR. EKELAND:    Objection, Your Honor.        I think counsel

16       was testifying there.

17                   MS. PELKER:    We are just moving to 601A.

18                   THE COURT:    So the question is -- the objection is

19       sustained.     And the question is stricken.         You can rephrase the

20       question.

21       BY MS. PELKER:

22       Q.    If we could direct your attention to 601A.           And Special

23       Agent Santell, is this a listing of vendors who sent their

24       funds to Bitcoin Fog?

25       A.    It is.
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1        Q.    And did you review records for the various vendors whose

2        user names are shown in column B?

3        A.    I did.

4        Q.    Starting with the top, did you review records for a

5        Bitcoin Fog customer who used the Silk Road moniker Symbiosis?

6        A.    I did.

7        Q.    Prior to your testimony today, did you review Government

8        Exhibit 608A through Q?

9        A.    I did.

10       Q.    If we could pull up 608A, which is not yet in evidence.

11       And did the 608 series fairly and accurately reflect the

12       records of Symbiosis' activity on Silk Road as captured by the

13       FBI when the site was seized?

14       A.    It does.

15                   BY MS. PELKER:    Government moves to admit

16       Exhibit 608A through Q.

17                   THE COURT:    I'm sorry.    A through what?

18                   MS. PELKER:    A through Q.

19                   THE COURT:    All right.    Any objection?

20                   MR. EKELAND:    To begin with, it is cumulative, 401,

21       403, 803.    I think the point has been made about Silk Road

22       selling drugs.

23                   THE COURT:    The objections are overruled.

24                   608N through Q is admitted and may be published to

25       the jury.
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                        DIRECT EXAMINATION OF STEVEN SANTELL                   45

1                   MS. PELKER:     Was that A through Q, Your Honor?

2                   THE COURT:    I'm sorry, A through Q.         My apologies.

3                   (Whereupon, Exhibit No. 608A through Q was admitted.)
4        BY MS. PELKER:

5        Q.    Special Agent Santell, directing your attention to 608A,

6        can you describe what is shown here?

7        A.    So this is Symbiosis' vendor page, if you will.

8        Q.    And can you walk us through the right-hand side under

9        featured listings?

10       A.    Yeah.   So these are some of the listings that Symbiosis

11       sold as a vendor.     You could see photos as well.         The feature

12       listings are different quantities of high quality uncut cocaine

13       flake.   Can see 1 gram and 7 gram and half a gram.

14       Q.    Can you read the top portion of the box in the middle

15       until -- up until Symbiosis starts discussing his reviews?

16       A.    Sure.   "UK vendor now stocking 160 milligrams MDMA, pink

17       square pills, MDMA, mephedrone, racemic ketamine, isomer

18       ketamine, cocaine flakes, LSD, 2CB, 2CI, 2CE, mushrooms,

19       mescaline, and 4AOCDMT.      Currently out of stock of MDMA.

20       Mephedrone, should return any day now.          Racemic ketamine will

21       be back in about a week.      Now using MBB bags for all

22       international orders.      I am an established Silk Road vendor.           I

23       specialize in international stealth shipping, only stock the

24       rare highest quality products and all of the very low prices or

25       at very low prices."
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1        Q.    Could you read the sentence above the all caps text?

2        A.    "Also could everyone please stop mentioning their country

3        of origin in the feedback.      We do not want those squares at

4        customs ruining everyone's fun."

5        Q.    Directing your attention to Exhibit 608E.

6              Can you explain what is shown here?

7        A.    This is the review section for Symbiosis.

8        Q.    Can you explain what a review section for a vendor on Silk

9        Road is?

10       A.    Sure.   It is, once again, similar to like an Amazon

11       product where you would want to go online and review I guess

12       how it all went, how the product was.

13       Q.    And on the far right, what ratings is Symbiosis receiving

14       on this page?

15       A.    So these are all 5 out of 5.

16       Q.    Directing your attention to 608B.

17             What is shown here?

18       A.    This is an item list for Symbiosis.

19       Q.    And would this type of item list appear on each vendor's

20       page?

21       A.    Yes.

22       Q.    And where are these items shipping from?

23       A.    They are shipping from the United Kingdom.

24       Q.    Where are they shipping to?

25       A.    Worldwide.
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1        Q.    Pulling up Exhibit 608J.       Can you explain what is shown in

2        the items spreadsheet here?

3        A.    This is Symbiosis' items spreadsheet.

4        Q.    And can you walk us through the listings in row 4?

5        A.    Sure.   So this is a listing for MDMA.

6        Q.    And can you read through or explain what is in columns --

7        the first several columns to explain how one of these items

8        listings would appear?

9        A.    Sure.   So you see the category name is MDMA.            If we can

10       see the date that this item was created, which is 8/13/2012 and

11       any modifications that were done to it.           And this was 8/13/2012

12       as well.     We can see that the ID for the item is in column G.

13       That ID just helps the database associate what that item is

14       instead of like plain text.         We also see the user ID in column

15       H, that user ID is a one-for-one relationship with Symbiosis.

16       So whenever you see that ID, it means it is Symbiosis.

17       Q.    And scrolling over a bit, if we can look at the title in

18       column J.

19       A.    Yep.    And this is the title of that item.          You can see 1

20       gram MDMA, UK first class.

21       Q.    And then in the description in column K, can you just read

22       the top portion of this here?

23       A.    Sure.   1 gram of the finest MDMA available in the world.

24       This MDMA is a dark purple.         I will update the picture in the

25       morning.
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1        Q.     You can keep reading.

2        A.     "Reagent test straight to black, made from safrole it has

3        the classic anise seed smell and kicks like the pre-drought

4        stuff of 2009."

5        Q.     Can we scroll down a bit within the listing.           Can you read

6        the beginning, just the first paragraph of the instructions for

7        international customers?

8        A.     "All international orders will be sent triple vacuum

9        sealed as a completely flat business letter.           Your items will

10       look, feel and smell like normal international business letter,

11       just containing paperwork."

12       Q.     And scrolling over to column M.       What is the price list of

13       Bitcoin for the 1 gram of MDMA?

14       A.     Roughly 3.752.

15       Q.     If we could go down to row 53.       Can you walk us through

16       this listing here?

17       A.     Yep.   So we see the category is cocaine.         It was listed on

18       7/21/2013.    And the date that it was last modified is the same

19       day.   We can see that it still has the same matching IDs for

20       column H or row H with Symbiosis.        We can see that it is item

21       listed in G for the ID.      The title of this is 7 grams high

22       quality uncut cocaine flake.

23       Q.     And if we can expand column K.

24       A.     So "7 grams of uncut high quality cocaine flake.               This

25       cocaine really is uncut.      The pictures shows about 9 ounces,
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 49 of 146
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1        which was once the quarter part of a kilo block.            I broke it up

2        open to show how the fish scale shine runs through the whole of

3        it.   It easily crumbles and absolutely stinks."

4        Q.    If we can go down to row 55.       Can you read the title and

5        description for the beginning of this listing?

6        A.    Sure.   3 by 4 ACO DMT capsules.

7        Q.    And the beginning of this description?

8        A.    Sure.   "This product is a very powerful psychedelic.           Do

9        not order or take this unless you are an experienced

10       psychedelic drug user who has done significant research on this

11       product."

12       Q.    Now, when you are reviewing Silk Road records, do all of

13       the vendors' older listings from the entire time always show up

14       in the item spreadsheet?

15       A.    No.

16       Q.    Were there also archived records that Silk Road stored

17       pertaining to the older listings?

18       A.    There was.

19                   MR. EKELAND:    Objection; leading.

20                   THE COURT:   Overruled.

21                   THE WITNESS:    Not only are the items table ended

22       eventually, where they have older records in the archived items

23       table.

24       BY MS. PELKER:

25       Q.    Did you review the item records for Symbiosis archived
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24    Page 50 of 146
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1        listings as well?

2        A.    I did.

3        Q.    Directing your attention to 608K.

4              And is that what is shown here?

5        A.    It is.

6        Q.    And did you also review records of Symbiosis' actual sales

7        of the items listed in the items spreadsheet?

8        A.    I did.

9        Q.    Showing you Exhibit 608N.      Is that what is shown here?

10       A.    Yes.

11       Q.    And directing your attention to row 2, can you walk us

12       through the sale that is shown in this top row?

13       A.    Yes.   So you can see in that it is liquid LSD, 5 drops

14       tablets -- or I'm sorry, 5 drops.        You can see that in column

15       C, you have the category, which is blotter.            And then you have

16       D, the seller, Symbiosis; you can see E, who the buyer is, in

17       this case it is Fipp.

18       Q.    And the next few columns, if we scroll to the right, show

19       a few different dates.      Can you explain the meaning of these

20       different dates, starting with the created date in column I?

21       A.    So you have the transaction, when was it first created,

22       which in this case was 2/16 of 2012.         And any modifications,

23       this one happens to be on the same date.             Then you can see in

24       column G, when the product was shipped, which was on the 17th.

25       And then we have the finalized column, which essentially means
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1        that the money going to Symbiosis in this case or the vendor is

2        almost like held in escrow to where the vendor won't get the

3        money until the buyer finalizes, says everything is good to go,

4        everything is okay and then it is finalized and they get the

5        money.

6        Q.    Is that what is reflected as the finalized date in column

7        F?

8        A.    It is.

9        Q.    And scrolling over to the right in column R.            What is the

10       amount paid in Bitcoin for this listing?

11       A.    3.43.

12       Q.    If we could scroll all of the way down to the bottom.

13             How many transactions of Symbiosis drug sales are there

14       records of here?

15       A.    In this table, it is 847.

16       Q.    Could you look at that number again?

17       A.    I'm sorry.     8,047.

18       Q.    Similar to listings, do the older transactions get

19       archived off?

20       A.    Yes, just like items do.

21       Q.    And showing you Exhibit 608O.       Is this a record of the

22       archive sales?

23       A.    It is.

24       Q.    And now is there some overlap in Silk Road's records

25       between the sales or listings on the live table and those on an
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24    Page 52 of 146
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1        archive table?

2        A.    They can overlap a little bit, that is correct.

3        Q.    But scrolling down to the bottom, how many additional

4        sales -- how many sales are listed here?

5        A.    2,063.

6        Q.    Did you review Symbiosis' feedback from people who were

7        buying his drugs on Silk Road?

8        A.    I did.

9        Q.    Directing your attention to 608H.         Is this a record of the

10       feedback that Symbiosis was receiving for some of the sales?

11       A.    That is correct.

12       Q.    If we could direct your attention to the top entry, the

13       second row here, can you generally explain what is shown?              We

14       don't need to walk through each of the tabs.

15       A.    This is a rating from the buyer that you see in column D.

16       You can see in column Y., it is a 5 out of 5 rating.              And you

17       can see the feedback in this column here.            Very clean and

18       strong product, large, pure crystals, very nice, packaging was

19       the best I have ever seen on Silk Road, worth the money for

20       shipping, when we see how --

21             And I have it blocked on my screen.            I apologize.

22             When you see how it was packaged, I could feel comfortable

23       buying from Symbiosis again.

24       Q.    Did Silk Road also allow vendors to communicate with

25       buyers as well as market staff?
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                         DIRECT EXAMINATION OF STEVEN SANTELL                  53

1                     MR. EKELAND:   Objection; leading, relevance.

2                     THE COURT:   Overruled.

3                     THE WITNESS:   It does.

4        BY MS. PELKER:

5        Q.    And did you review records of some of those communications

6        by Symbiosis?

7        A.    I did.

8        Q.    Pulling up Exhibit 608L.      And directing your attention to

9        line 230.    And who is involved in this conversation here?

10       A.    Symbiosis and Internet Guy.

11       Q.    And is this a message from Internet Guy to Symbiosis?

12       A.    Yes.

13       Q.    If we could read the message and column I or -- I'm sorry,

14       one more over?

15             And we don't need to read the full thing here, but looking

16       at the second paragraph there, starting at the B toward the

17       end, "Also I will be buying."

18       A.    "Also I will be buying one of your 7-gram coke listings

19       today when I get my BTC get through the fog, probably just as

20       you guys are waking up, so you could possibly weigh that one a

21       little heavy."

22       Q.    What is your understanding of what Internet Guy is saying

23       there?

24       A.    Essentially that he is waiting for his Bitcoin to go

25       through Bitcoin Fog in order for -- then he is going to put the
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1        money from there into the Silk Road to purchase the 7 grams of

2        coke.

3        Q.    Directing your attention to Exhibit 608Q.            Are these

4        additional messages involving Symbiosis?

5              It looks like our screen is frozen.

6        A.    They are.

7        Q.    And if we could go down to line 578.            And can you read

8        this message from Silk Road to -- from Symbiosis to Silk Road

9        vendor support in column J?

10       A.    "Hi guys.      Earlier today, I withdrew 630 coins to Bitcoin

11       Fog, but it has not shown up on their system.             Could you

12       confirm that it was sent to Bitcoin address" and the Bitcoin

13       address listed there.       And if you could -- "And if not could

14       you tell me what address it was sent to please, Symbiosis."

15       Q.    And if we move down to the response in the next row from

16       Silk Road vendor support.       Can you read that into the record?

17       A.    "We are a little behind.       Please give it a few more

18       hours."

19       Q.    And then can you read the response from Symbiosis?

20       A.    "That's absolutely fine.       Please take your time.            Now I

21       know it hasn't been lost I can stop panicking."

22       Q.    Did you also review records for the Bitcoin Fog customer

23       using the moniker Tyler Durden?

24       A.    I did.

25       Q.    Showing you what is not yet in evidence 609A, B, C, G, K,
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1        L and M.

2              And Special Agent Santell, prior to your testimony today

3        had you reviewed this 609 series?

4        A.    I did.

5        Q.    And are these fair and accurate reflections of the records

6        that were provided by FBI as they existed when the Silk Road

7        site was taken down?

8        A.    Yes.

9                     BY MS. PELKER:   Government moves to admit 609A, B, C,

10       G, K, L, and M.

11                    THE COURT:   Any objection?

12                    MR. EKELAND:   Cumulative, 401, 403, 803.

13                    THE COURT:   Objection is overruled.

14                    Exhibits 609A, B, G, K, L and M are admitted and may

15       be published to the jury.

16                    (Whereupon, Exhibit No. 609A, B, G, K, L and M were
17       admitted.)
18       BY MS. PELKER:

19       Q.    Special Agent Santell, can you explain what is shown here?

20       A.    This is the vendor page for Tyler Durden.

21       Q.    If we could move to 609B.      Can you explain what is shown

22       here?

23       A.    These are the items listed for Tyler Durden.

24       Q.    And 609C.

25       A.    These are reviews left by buyers for Tyler Durden.
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1        Q.    And 609G?

2        A.    This is the items table for Tyler Durden.

3        Q.    What items is Tyler Durden typically listing?

4        A.    You can see prescription drugs on here.          You can see

5        25CNBOME.

6        Q.    And pulling up Exhibit 609K.       What is shown here in the

7        transactions spreadsheet?

8        A.    So this is like Tyler tabs, different product they are

9        selling as well and a description of the items itself.

10       Q.    And we might need to bring in column B a bit to see what

11       else is shown here.     But is this a table of the --

12       A.    The transactions, that's correct, for Tyler Durden.

13       Q.    And just going all of the way back over to the left.            And

14       scrolling all of the way down, how many sales are recorded on

15       this spreadsheet?

16       A.    3,564.

17       Q.    And did you also review Tyler Durden's archive record of

18       older sales?

19       A.    I did.

20       Q.    Were there additional sales noted on that exhibit?

21       A.    That is correct.

22       Q.    Did you review records for the Bitcoin customer Budworx?

23       A.    I did.

24       Q.    Showing you Exhibits 604A, B, G, K, J and M.

25                   BY MR. EKELAND:    Objection.     One second, Your Honor.
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1        I believe again counsel was testifying in her question about

2        the Bitcoin Fog customer, which I don't believe is in evidence.

3        And Bitcoin Fog didn't have customers, they had users.

4                    THE COURT:    All right.    If you want to rephrase the

5        question.

6                    MS. PELKER:    By user I mean --

7                    THE COURT:    That is fine.     You can rephrase the

8        question.

9        BY MS. PELKER:

10       Q.    Did you review records for the Bitcoin Fog user Budworx?

11       A.    I did.

12       Q.    And showing you the series for Exhibit 604, prior to your

13       testimony today, did you review this 604 series?

14       A.    I did.

15       Q.    Are these fair and accurate reflections of Budworx'

16       activity on -- records from Silk Road of Budworx' activity as

17       they existed on the servers as collected by the FBI?

18       A.    They are.

19                   MS. PELKER:    Government moves to admit Government

20       Exhibits 604A, B, G, K, J and M.

21                   THE COURT:    All right.    Any objection?

22                   MR. EKELAND:    Cumulative, relevance, 403 and hearsay.

23                   THE COURT:    The objections are overruled.         Exhibits

24       604A, B, G, K, J and M are admitted and may be published to the

25       jury.
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1                   (Whereupon, Exhibit No. 604A, B, G, K, J and M were
2        admitted.)
3        BY MS. PELKER:

4        Q.    And directing your attention to 604A.           Can you explain

5        what is shown here?

6        A.    This is the vendor page for Budworx UK.

7        Q.    Can you walk through the featured listings on the far

8        right?

9        A.    Sure.   You see cheese kush, 4 grams of it, along with a

10       photo, also high grade speed amphetamine, 200 grams.              And below

11       it would be 100 grams as well.

12       Q.    Directing your attention to 604B.         What is shown here?

13       A.    This is an items listing for Budworx.

14       Q.    Can you read off the top item noted there?

15       A.    High grade speed amphetamine of 500 grams, listing price

16       is 2,500 pounds and quantity of 6.

17       Q.    Directing your attention to Exhibit 604G.            And what is

18       shown here generally?

19       A.    These are the items for Budworx.

20       Q.    And if we could scroll down slowly.            Generally, what items

21       is Budworx selling?

22       A.    Weed, MDMA, cocaine, generally just drugs.

23       Q.    And directing your attention to row 17.           And in the column

24       J, what is the listing shown here?

25       A.    One gram of uncut cocaine.
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1        Q.    And row 59?

2        A.    This is 5 grams of amphetamine speed paste.

3        Q.    Can we read the description one tab over?

4        A.    "This speed comes highly recommended from an old and

5        well-established source in the Netherlands.           We are happy to

6        introduce this product to our listings.          It is highly cost

7        effective and very consistent in quality."

8        Q.    Does it then provide some -- generally what is described

9        below?

10       A.    So you can see ratings -- the potency is 5 of 5, the

11       texture, the smell and the price for strength is listed as

12       well.

13       Q.    Pulling up Exhibit 604K.      And is this the list of Budworx

14       sales for Silk Road?

15       A.    That is correct.

16       Q.    Scrolling down to the bottom.       How many sales are recorded

17       here?

18       A.    2,011.

19       Q.    Did you review Silk Road records for Bitcoin Fog user

20       MarijuanaIsMyMuse?

21       A.    I did.

22       Q.    And showing you Exhibits 605A, B, C, D, G, I, N, O, and P.

23       Did you review some 605 series in advance of your testimony

24       here today?

25       A.    I did.
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1        Q.    And are these fair and accurate reflections of the Silk

2        Road records from MarijuanaIsMyMuse as acquired by the FBI in

3        its investigation?

4        A.    They are.

5                     BY MS. PELKER:   Government moves to admit Government

6        Exhibit 605A, B, C, D, G, I, N, O, P.

7                     THE COURT:   All right.    Any objection?

8                     MR. EKELAND:   Cumulative, relevance, 403, 803.

9                     THE COURT:   Objection is overruled.        Exhibits 605A,

10       B, C, D, G, I, N, O and P are admitted and may be published to

11       the jury.

12                    (Whereupon, Exhibit Nos. 605A, B, C, D, G, I, N, O
13       and P were admitted.)
14       BY MS. PELKER:

15       Q.    Directing your attention to 605A.         Can you describe what

16       is shown here?

17       A.    This is the vendor page for MarijuanaIsMyMuse.

18       Q.    And can you note what is shown under the feature listings

19       on the right-hand side?

20       A.    Yep.   You can see Crystal meth ice shards, MDMA crystals

21       as well.

22       Q.    Can you read the first line of the description of

23       MarijuanaIsMyMuse's vendor page?

24       A.    "Welcome to MarijuanaIsMyMuse feel free to order our wares

25       with confidence.     We do this the best stealth possible and ship
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 61 of 146
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1        every order processed."

2        Q.    Showing you Exhibits 605B.       Can you describe what is shown

3        here?

4        A.    This is 56 grams of MDMA.

5        Q.    And what is the purchase price listed?

6        A.    2,400 USD.

7        Q.    And could you note where it is shipping to?

8        A.    It ships to worldwide.

9        Q.    Showing you Exhibit 605C.      Can you note what is shown

10       here?

11       A.    Yep.    This is more of the product listings.

12       Q.    605D?

13       A.    And these are the reviews as well.

14       Q.    If we could pull up 605I, the items.

15             And can you read in row 2, the title of this first item

16       listing?

17       A.    Yep.    It is .25 grams crystal meth ice shards.

18       Q.    And looking down to the next few rows, what generally is

19       shown?

20       A.    Generally, crystal meth ice shards.

21       Q.    And are they sold in various different quantities?

22       A.    They are.

23       Q.    If we could go -- and starting in row 17, what is the

24       description there?

25       A.    That is your MDMA crystals and on down.          They are sold in
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 62 of 146
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1        different quantities as well.

2        Q.    Moving to row 73.     What is the -- what item is being sold

3        indicated in column J?

4        A.    Pure heroin.

5        Q.    And down to row 233.

6              What item is being sold there?

7        A.    MDMA.

8        Q.    And in the next row 234?

9        A.    Liquid LSD drops.

10       Q.    Going down to 297.     Can you read the title there?

11       A.    Yep.    It is white ecstasy pills.

12       Q.    And what go one -- we need to scroll just one column over

13       to the right.    Can you read the first two lines of the

14       description?

15       A.    This listing is for "White GP ecstasy pills,

16       160 milligrams.      We are now pressing our own pills of pure

17       MDMA.   No filler, all killer."

18       Q.    How many listings are in the spreadsheet in total?

19       A.    300.

20       Q.    Showing you now Exhibit 605N.       What is shown here in the

21       transactions record for this vendor?

22       A.    Can you rephrase that question?

23       Q.    Can you walk us through -- just go with row 2 here.

24                    MR. EKELAND:   Objection; leading.

25                    MS. PELKER:    I haven't asked a question.        I was just
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 63 of 146
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1        directing --

2                     THE COURT:    Overruled.

3                     MR. EKELAND:   Objection to not asking a question.

4                     MS. PELKER:    I am directing your attention to row 2.

5                     THE COURT:    Overruled.

6        BY MS. PELKER:

7        Q.    Can you walk us across this transaction shown here?

8        A.    Yes.   This is a transaction for 1 gram of MDMA crystals.

9        Use this in the category MDMA.       The buyer is E-N-I-G-M-A-L.

10       And the seller is MarijuanaIsMyMuse.         As described before, you

11       can see the ship date, the finalized date and if we were to

12       scroll over, we can see when the transaction was created.

13       Q.    And then in column R, do you see the payment information

14       in Bitcoin?

15       A.    You can see it was 3.98 Bitcoin.

16       Q.    Scrolling all of the way down to the bottom.            How many

17       transactions are reflected here?

18       A.    4,850.

19       Q.    And did you also review additional transactions in the

20       archive spreadsheet record?

21       A.    That is correct.

22       Q.    Did you also review records for a Bitcoin Fog user named

23       peels4u?

24       A.    I did.

25       Q.    Pulling up exhibits which are not yet in evidence 606F, I,
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 64 of 146
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1        J and K.

2               And prior to your testimony today, did you review the 606

3        series?

4        A.     I did.

5        Q.     And are the records a fair and accurate reflection of the

6        records for peels4u's activity on Silk Road as obtained by the

7        FBI?

8        A.     They are.

9                   MS. PELKER:     Government moves to admit Exhibits 606,

10       F, I, J and K.

11                  THE COURT:    All right.     Any objection?

12                  MR. EKELAND:     Cumulative, relevance, 403, hearsay.

13                  THE COURT:    Exhibits 606F, I, J and K are admitted

14       and may be published to the jury.

15                  (Whereupon, Exhibit Nos. 606F, I, J and K were
16       admitted.)
17       BY MS. PELKER:

18       Q.     If we could direct your attention to Exhibit 606F.             And

19       what is this spreadsheet?

20       A.     This is the live items table for peels4u, just the items

21       table, if you will.

22       Q.     And if we can scroll to column P.        Where are peels4u's

23       listings shipping from?

24       A.     The United States of America.

25       Q.     Going to line 32, scrolling back over to the left.             What
     Case 1:21-cr-00399-RDM   Document 287    Filed 03/16/24   Page 65 of 146
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1        item is listed here in column J?

2        A.    You can see it is a fentanyl patch.

3        Q.    And the line below that?

4        A.    Xanax.

5        Q.    And below that?

6        A.    Colasapan (ph).

7        Q.    Is that clonazepam?

8        A.    Clonazepam, yeah, excuse me.

9        Q.    And the line below that?

10       A.    Percocet.

11       Q.    Directing your attention to Exhibit 606I.            And scrolling

12       down to the bottom how many transactions or sales from peels4u

13       are reflected in this spreadsheet?

14       A.    227.

15       Q.    And if we could pull up 606J, the transactions archive.

16       And scrolling down to the bottom, how many of peels4u's sales

17       are noted on this spreadsheet?

18       A.    1,851.

19       Q.    Did you review records for a Bitcoin Fog user named UK

20       Grow Tek?

21                    MR. EKELAND:   Objection, Your Honor.

22                    THE WITNESS:   I did.

23                    MR. EKELAND:   Counsel is testifying when she is

24       saying Bitcoin Fog user.

25                    THE COURT:   I thought you were the one --
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1                    Well, let's pick up for a second.

2                    (Conference held at the bench.)

3                    THE COURT:    So the last time she said customer and

4        then you said, they are not customers, they are users.                 So she

5        was following what you had said.

6                    MR. EKELAND:    Is that fact in evidence?          I honestly

7        can't remember.      I don't -- it is not clear to me that is in

8        evidence.

9                    MS. PELKER:    In Exhibit 601 with the different -- it

10       is the listing of all of the vendors, each one of these vendors

11       is in that spreadsheet.      And Mr. Scholl testified these were

12       vendors who were sending to these -- I'm sorry -- from Bitcoin

13       Fog into these different vendor accounts.             But if we are

14       going --

15                   THE COURT:    So was there an issue there?

16                   MS. PELKER:    The screen was still up, but it is in

17       evidence.

18                   THE COURT:    Yeah.     I don't think I have a question

19       about the -- I have already admitted this already.

20                   MS. PELKER:    Yes.     So this is showing that all of

21       these vendors are withdrawing money from Fog to go to -- I'm

22       sorry.   Withdrawing money to Fog.        So these are all vendors

23       sending money from Silk Road to Bitcoin Fog.            These are the

24       vendors that we had listed in the bill of particulars as well.

25                   THE COURT:    All right.     So I --
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1                   MR. EKELAND:     Does the testifying witness have

2        knowledge of this?     And this also -- I just think this is a

3        little confusing to the jury as to if the money from these

4        transactions is going into Bitcoin Fog or out of Bitcoin Fog or

5        is it pre-mix, is it post-mix.       And, you know, have we laid a

6        foundation for the witness to have knowledge of this?                 I just

7        would prefer that counsel just ask direct fact questions

8        without leading the witness into saying -- you know, because

9        essentially it is a compound question.          It is saying, okay, was

10       you know, Symbiosis a user of Bitcoin Fog.           And then did they

11       do X?   There is -- it is compound on top of everything else.

12                  MS. PELKER:     The alternative is -- and we are happy

13       to do this -- between each one of these vendors, pull up the

14       spreadsheet and say did you review the next vendor on

15       Mr. Scholl's spreadsheet that he noted as receiving funds

16       from -- as sending funds to Bitcoin Fog.

17                  MR. EKELAND:     If we are going to do this, lay the

18       foundation.

19                  THE COURT:    All right.

20                  MS. PELKER:     I don't think there is -- the witness

21       isn't the one who is testifying to the tracing, we are just

22       directing his attention to particular references.

23                  THE COURT:    I guess, if Mr. Ekeland wants you to go

24       back to the chart -- I am not sure how many we have to go, but

25       it is fine with me to go back to the chart that is in evidence
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1        each time and start from that and go through it.             I will say

2        that one of the reasons, by the way, that I have allowed this

3        line of questioning and have overruled the objections with

4        respect to cumulative and 403 is that Mr. Ekeland, in some of

5        his questioning of earlier witnesses was suggesting, well, how

6        do you know that whatever was going on was illegal in the place

7        in which the transactions were occurring?             I think it is

8        appropriate for the government to be able to establish sort of

9        the breadth of the transactions and nature of the transactions

10       that that were occurring, given that seed that was at least

11       arguably planted with the jury of how do we know that in

12       whatever the transactions were occurring that it was unlawful.

13       And so I think that requires some broader testimony with

14       respect to the breadth and nature of the transactions to, I

15       think, be able to rebut that.        So that is why I have allowed

16       it.    Okay.   You can proceed.

17                  (End of bench conference.)

18                  THE COURT:    Do we want to take our morning break now

19       or maybe -- I will leave it up to you as to whether now is a

20       good breaking point.

21                  MS. PELKER:     This is a fine time to take a break,

22       Your Honor.

23                  THE COURT:    Okay.      So why don't we take our break

24       now?   It is 10 minutes of 11:00.        Why don't we come back at 10

25       minutes after 11:00, so take a 20-minute break.             Please don't
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1        discuss the case amongst yourselves, no research relating to

2        the case and I will see you back shortly.

3                   THE COURTROOM DEPUTY:        All rise.

4                   (Jury out at 10:51 a.m.)

5                   THE COURTROOM DEPUTY:        You may be seated.

6                   THE COURT:    You can take your break as well.              Please

7        don't discuss your testimony with anybody until it is complete.

8                   Anything before we break?

9                   MS. PELKER:     Not from the government, Your Honor.

10                  MR. EKELAND:     Not from the defense, Your Honor.

11                  THE COURT:    Okay.      See you shortly.

12                  (Recess taken at 10:52 a.m.)

13                  THE COURT:    Well, while the deputy clerk is getting

14       the jurors, apparently some of the jurors asked what is going

15       on with Mr. Ekeland referring to these numbers.             And assuming

16       that the parties agree, I am inclined to say, I know you raised

17       some question about this.      When a lawyer has an evidentiary

18       objection, they can either state in a short form what the

19       objection is or they can refer to the rule.            But what matters

20       is whether the Court allows the evidence in or not.              And you

21       should not pay attention to the objections themselves.                 The

22       question is whether the Court thinks they have merit and allows

23       the evidence in, something along those lines.             Any objection to

24       me clarifying that?

25                  MR. EKELAND:     No, Your Honor.
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1                   MS. PELKER:     No, that is fine, Your Honor.

2                   THE COURT:    You can have a seat.

3                   You can have a seat until they start to come in.

4                   Ms. Pelker, how are we doing timing wise?

5                   MS. PELKER:     We are doing well.        I definitely do

6        expect us to finish.     I think it is just a question whether we

7        do start Mr. Verret today.

8                   THE COURT:    Okay.

9                   MS. PELKER:     What time are we going until today?

10                  THE COURT:    About 12:30, I think.

11                  And before the government rests, both sides should

12       confer and make sure they are in agreement with respect to what

13       exhibits are in or not in evidence, just so the government

14       doesn't rest and it turns out there was a dispute about whether

15       something was admitted or not.

16                  MS. PELKER:     We did review the records from

17       Ms. Walker.    And I think that we will confirm.          I believe we

18       are all in --

19                  THE COURT:    Ready?

20                  THE COURTROOM DEPUTY:       Ready.

21                  (Jury in at 11:15 a.m.)

22                  THE COURTROOM DEPUTY:       The jury is present.

23                  THE COURT:    Before we -- I understood there was some

24       question some of you may have had about the fact that

25       Mr. Ekeland was referring to numbers sometimes when he was
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1        raising objections.     And just to clarify for you, the numbers

2        are just references to the Rules of Evidence.            And a lawyer can

3        either object by referring to Rules of Evidence or by stating

4        in very short form what the objection is.            And so, for example,

5        Rule 401 is relevance and so the lawyer can say, objection,

6        relevance or objection, Rule 401.        That is all that is going

7        on.   But you shouldn't pay any attention to the objections.

8        The objections, like lawyer's questions, they are not evidence

9        in the case.    What matters is whether the Court concludes the

10       evidence should come in or not.        So if I admit the evidence,

11       the Court has concluded there is no merit to the objection.                If

12       I don't admit the evidence then I can have concluded that there

13       is merit to the objection.

14                  But what matters for your sake is whether the

15       evidence comes in for your consideration or not comes in for

16       your consideration and not what the dialogue that I am having

17       with the lawyers about the objections.          That is a legal

18       question for me and the facts are for you.

19                  You can continue.

20                  MS. PELKER:     Thank you, Your Honor.

21       BY MS. PELKER:

22       Q.    If we could pull up Exhibit 601A.         And directing your

23       attention to row 7 of this spreadsheet.          Did you review records

24       for the Silk Road user noted on this spreadsheet UK Grow Tek?

25       A.    My screen is not currently working.
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1        Q.    Can you see it now?

2        A.    No, I just have the shield.

3                   THE COURTROOM DEPUTY:       Hold on.

4                   THE WITNESS:     I have it now.      Thank you.

5        BY MS. PELKER:

6        Q.    Did you review records for UK Grow Tek?

7        A.    I did.

8        Q.    If we could pull up what is not yet in evidence, as

9        Exhibits 610A, C, H, L, M, and N.

10                  MR. EKELAND:     What was the last one?

11                  MS. PELKER:     N.

12       BY MS. PELKER:

13       Q.    And prior to testifying today, did you review the 610

14       series?

15       A.    I did.

16       Q.    Are these fair and accurate reflections of the records for

17       this vendor as noted in the Silk Road records obtained and

18       provided by the FBI?

19       A.    They are.

20       Q.    Government moves to admit Exhibit 610A, C, H, M and N.

21                  THE COURT:    All right.     Any objection?

22                  MR. EKELAND:     Cumulative, 401, 403, 803.

23                  THE COURT:    And the Court overrules those objections.

24                  And Exhibits 610A, C, H, L, M and N are admitted and

25       may be published to the jury.
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1                   (Whereupon, Exhibit No. 610A, C, H, L, M and N were
2        admitted.)
3        BY MS. PELKER:

4        Q.    Turning your attention to 610A in front of you here.            Can

5        you explain what is shown?

6        A.    This is the homepage for the vendor UK Grow Tek.

7        Q.    Can you read the text starting with what we sell?

8        A.    What we sell, high grade kush and other top strains.            High

9        grade coke, 70 percent and up.       Ketamine, wicked MDMA, pills

10       and speed, hash from around the globe, pure washed DMT, Changa.

11       Q.    Directing your attention to 610C.         What is shown here?

12       A.    This is a Ketamine crystals, 10 grams.

13       Q.    And where is this shipping to?

14       A.    Ships to worldwide.

15       Q.    Directing your attention to 610H.         Is this a spreadsheet

16       of this vendor's listings?

17       A.    That is correct.

18       Q.    Direction your attention to line 16.           Can you read the

19       title of this listing?

20       A.    "Festival special, festival combo pack, everything you

21       need."

22       Q.    And moving over one column, can you read the description?

23       A.    "Special combo price, this includes 10 green piece

24       ecstasy, pills, 1 gram of fish scale cocaine, 1 gram of MDMA

25       and 3.5 grams of Ketamine."
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1        Q.    Can we scroll down.     Can you read one more line there?

2        A.    "Please note that they are all quality drugs.            When mixing

3        them, please know your limits.       Don't want you in the festival

4        hospital tent pulling faces."

5        Q.    And pulling up Exhibit 610L.       And scrolling down to the

6        bottom here.     How many sales are noted on the spreadsheet here?

7        A.    1,572.

8        Q.    And did you also review a transactions archive spreadsheet

9        for this vendor?

10       A.    I did.

11       Q.    Were there additional sales noted there?

12       A.    There are.

13       Q.    We could go back to 610A.      I apologize, 601A.        And what is

14       the next vendor on this spreadsheet here?

15       A.    RoxiPal.

16       Q.    Did you review the records for RoxiPal for Silk Road?

17       A.    I did.

18       Q.    If we could pull up what is not yet in evidence Government

19       Exhibit 607A, B, H, K, and O.       And prior to your testimony

20       today, did you review the 607 series?

21       A.    I did.

22       Q.    Are these fair and accurate reflections of the records for

23       RoxiPal as reflected on Silk Road and obtained and provided by

24       the FBI?

25       A.    They are.
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1                   MS. PELKER:      Government moves to admit Government

2        Exhibit 607A, B, H, K and O.

3                   THE COURT:     Any objection?

4                   MR. EKELAND:      Cumulative, 401, 403, 803.

5                   THE COURT:     Objections are overruled.         And Exhibits

6        607A, B, H, K and O are admitted and may be published to the

7        jury.

8                   (Whereupon, Exhibit No. 607A, B, H, K and O were
9        admitted.)
10       BY MS. PELKER:

11       Q.    If we can pull up 607A.

12             Can you read the last paragraph shown here under RoxiPal's

13       vendor description under introduction?

14       A.    "Welcome.      RoxiPal stives to provide pharmacy medication

15       mostly opiates at the best prices on the Road.             You will also

16       enjoy the fastest delivery times of any vendor.             RoxiPal will

17       never ask you to finalize early.         The escrow system protects

18       both the buyer and the seller.        Please respect the escrow

19       process by confirming receipt, finalizing immediately after

20       delivery."

21       Q.    Pulling up 607B.      And can you describe what is shown here?

22       A.    This an items list.

23       Q.    And can you just read down the categories list?

24       A.    Cocaine, oxycodone, Norco, Adderall, Oxycontin.

25       Q.    Now pulling up 607H.      Is this a listing of spreadsheet of
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1        RoxiPal's listings?

2        A.    That is.

3        Q.    If we can scroll over to the right.            Where is RoxiPal

4        shipping from?

5        A.    The United States.

6        Q.    And can you read across the first item listing.             We'll

7        have to go over to the left for the title and just the

8        beginning of the description?

9        A.    30 milligrams of oxycodone.

10       Q.    And on column K.     Can you read just the beginning?

11       A.    "30 milligrams oxycodone, V48, 12 round blue pills,

12       instant release, pharmacy fresh, made in the USA, shipped fast

13       domestically."

14       Q.    Now, pulling up 607K.     If we can scroll down to the

15       bottom.   How many sales did RoxiPal complete on Silk Road as

16       indicated in this spreadsheet?

17       A.    420.

18       Q.    Going back to 601A.     And did you review records for the

19       next vendor on this list, West Coast RX?

20       A.    I did.

21       Q.    And what is -- if we could direct your attention to what

22       is not yet in evidence, Exhibits 611, A, G, L, and N.                  And are

23       these fair and accurate reflections of the records of West

24       Coast RX activity on Silk Road?

25       A.    That is correct.
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1                   MS. PELKER:     Government moves to admit Exhibits 611A,

2        B, G, L and N?

3                   THE COURT:    Any objection?

4                   MR. EKELAND:     Cumulative, relevance, more prejudicial

5        than probative and hearsay.

6                   THE COURT:    Those objections are overruled.              Exhibits

7        611A, G, L and N are admitted and may be published to the jury.

8                   (Whereupon, Exhibit Nos. 611A, G, L, N were
9        admitted.)
10       BY MS. PELKER:

11       Q.    If we could direct your attention to 611G.           And what is

12       shown here?

13       A.    This is the items table for West Coast RX.

14       Q.    If we could scroll over to the right on column P.               Where

15       is West Coast RX shipping from?

16       A.    The United States.

17       Q.    And going back over to the left, in this first listing

18       could you read the title?

19       A.    It is 1 gram of MDMA.

20       Q.    And the beginning of the description?

21       A.    "One gram of imported MDMA available for reship in the

22       USA."

23       Q.    And if we can scroll down the -- scroll down here.               And

24       then looking at rows 22, 23, 24.        What items are noted there?

25       A.    Fentanyl.
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1        Q.    And did you also review records of buyers actually buying

2        these items from West Coast RX?

3        A.    I did.

4        Q.    If we could pull up Exhibit 611L.         And scrolling down to

5        the bottom, how many sales are reflected on this record?

6        A.    172.

7        Q.    And did you also review the transaction archive

8        spreadsheet for this vendor?

9        A.    I did.

10       Q.    And if we could go on 611L.       Directing your attention on

11       line 4.    And can you explain what is shown there?

12       A.    This is a transaction between the seller West Coast RX and

13       the buyer Fun Beach Baby 21.        You can see it is for 50 mcg of

14       fentanyl.

15       Q.    And scrolling to the right, what is noted in the payment

16       columns?

17       A.    So it was sold or the transaction was for 6.42 Bitcoin.

18       Q.    In your work for this case, did you review records from

19       the marketplace Silk Road 2?

20       A.    I did.

21       Q.    If we could pull back up 601A.

22             What was Silk Road 2?

23       A.    After Silk Road was taken down, essentially a copycat

24       called Silk Road 2?

25       Q.    What happened to Silk Road 2?
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1        A.    It was taken down and seized by the FBI.

2        Q.    And when the FBI -- as part of its investigation, did it

3        obtain records related to Silk Road 2?

4        A.    It did.

5        Q.    Now, did you review Silk Road 2 records for the user Pas?

6        A.    I did.

7        Q.    If we could pull up what is not yet in evidence

8        Exhibit 612D.

9                     THE COURTROOM DEPUTY:     What is it?

10                    MS. PELKER:    Not yet in evidence.

11       BY MS. PELKER:

12       Q.    Is this a fair and accurate reflection for the record of

13       the user named Pas on Silk Road 2 as obtained by the FBI?

14       A.    It is.

15                    BY MS. PELKER:   The government moves to admit 612D.

16                    THE COURT:    Any objection?

17                    MR. EKELAND:   No objection.

18                    THE COURT:    612D may be admitted and published to the

19       jury.

20                    (Whereupon, Exhibit No. 612D was admitted.)
21       BY MS. PELKER:

22       Q.    Can you explain what is shown here relating to the

23       username Pas?

24       A.    Yup.   You can see the username on here is Pas.           And you

25       can see the sign-up date is 3/28/2014.
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1        Q.    And did this -- were there any saved order information for

2        this user?

3        A.    It says no orders as buyer.

4        Q.    So this just reflects that Pas had an account on Silk Road

5        2?

6        A.    Correct.

7        Q.    Returning now to 601A.        Did you review Silk Road 2 records

8        for the user Chemical Brothers?

9        A.    I did.

10       Q.    Directing your attention to what is not yet in evidence,

11       614D and E.    Are these fair and accurate reflections of the

12       records for Chemical Brothers obtained by the FBI?

13       A.    They are.

14                  MS. PELKER:     Government moves to admit Exhibit 614D

15       and E.

16                  THE COURT:    Any objection?

17                  MR. EKELAND:     Cumulative, 401, 403 and hearsay.          It

18       looks like there is some messages in there.

19                  THE COURT:    All right.      Are any of the messages being

20       offered for the truth of the matter?

21                  MS. PELKER:     I can -- we can pick up the phone

22       because I think this may come up for others.

23                  THE COURT:    Okay.

24                  (Conference held at the bench.)

25                  MS. PELKER:     Generally, no, Your Honor, except there
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1        are some messages that he would read in that are specifically

2        discussing -- that are specifically discussing Bitcoin Fog and

3        that would fall under the co-conspirator exception.

4                   THE COURT:    Mr. Ekeland.

5                   MR. EKELAND:     I don't know which co-conspirators they

6        are talking about.

7                   THE COURT:    I think the theory is that any illicit

8        user of Bitcoin Fog -- anyone engaging in an illicit

9        transaction using Bitcoin Fog is doing so to hide their

10       transactions and therefore is a co-conspirator in the money

11       laundering conspiracy.

12                  MR. EKELAND:     I mean, I would have to see the

13       message.   I mean, that -- I guess we just take that as we see

14       it.

15                  THE COURT:    So that is fine.       You can preserve any

16       particular objections as they come up and raise them through if

17       there are any particular hearsay statements that you think are

18       inadmissible.    Okay.

19                  (End of bench conference.)

20                  THE COURT:    You may proceed.

21       BY MS. PELKER:

22       Q.    Directing your attention to 6 --

23                  THE COURT:    I guess 614D and E are admitted subject

24       to our discussion.

25                  (Whereupon, Exhibit Nos. 614D and E were admitted.)
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1        BY MS. PELKER:

2        Q.    And Special Agent Santell, is the format of the records

3        from Silk Road 2 a bit different than Silk Road 2?

4        A.    That is correct.

5        Q.    And but did they collect similar types of information?

6        A.    That is correct.

7        Q.    Directing your attention to 614D.          Can you explain what is

8        shown here?

9        A.    Yep.   You can see the username, which is Chemical

10       Brothers.    The sign-up date should be 11/11/2013.            You can see

11       that as a vendor, they had 2,531 orders totaling $692,000.

12       Q.    If we could go to the next section, the top items sold.

13       A.    Yep.

14       Q.    Can you read off the first top items in the statistics

15       there?

16       A.    The top items sold would be pseudo speed or crushed rock

17       along with -- in 3.5 grams.         And then the next one would be the

18       same pseudo speed crushed rock for 1 gram, along with MDMA

19       would be the following.

20       Q.    If we could pull up Exhibit 614E.

21             And if we could attempt to go down to the conversation

22       with, What a Delight from March 11th, 2014.            Can you read this

23       message from, What a Delight?

24       A.    "From one Aussie to another, knowing the paranoid fear we

25       live in, would you recommend purchasing Bitcoin and then
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1        washing/tumbling it through Bitcoin Fog and then sending it on

2        to your SR wallet to safely spend it or could you recommend a

3        better method?       Trying to get as good an idea as I can get at

4        being anon before I deposit."

5        Q.    And if we can scroll down --

6                   MR. EKELAND:      Objection, Your Honor.        Can we talk on

7        the phone for one second?

8                   (Conference held at the bench.)

9                   MR. EKELAND:      That first of all -- there is a bunch

10       of messages in there that don't have anything to do with

11       Bitcoin Fog.    That is not somebody saying -- talking with

12       anybody about actually furthering Bitcoin Fog.             They are asking

13       if they should use it or recommend it.           It is not indicative of

14       any kind of use of Bitcoin at all.

15                  MS. PELKER:      It is.   But also when we scroll down,

16       you see crystal delight's -- I'm sorry, Chemical Brother's

17       response here regarding his tips on how to stay anonymous and

18       then including the use of Bitcoin Fog.

19                  MR. EKELAND:      But it is actually not going to the

20       operation of Bitcoin Fog as a money laundering operation.              They

21       are talking about, you know, using it.           So I guess I am a

22       little bit unclear on sort of the conspiracy here and where the

23       agreement element is with these people, because are you just

24       saying that everybody, you know, who uses Bitcoin Fog is

25       engaged in the money laundering activity of Bitcoin Fog?               I
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1        mean, it just seems that the scope of the conspiracy here is

2        just anybody who used Bitcoin Fog, if they had drug money or

3        anything -- and I thought the -- my understanding of the

4        conspiracy was to operate a money laundering system called

5        Bitcoin Fog.    This isn't actually going to the operation.            What

6        it is talking about is use.         I am just a little confused here.

7                   MS. PELKER:     So, I mean, I think we have been clear

8        that the conspiracy here -- the defendant is charged with

9        operating Bitcoin Fog.      But Bitcoin Fog and the defendant was

10       in a conspiracy with the illicit users of Bitcoin Fog to

11       launder these proceeds.      And Chemical Brothers was one of the

12       individuals we specifically noted in our bill of particulars.

13       But beyond that, any communication by a Bitcoin Fog user

14       discussing specifically their use of Bitcoin Fog to launder

15       illicit proceeds would be a co-conspirator statement in that

16       money laundering conspiracy?

17                  THE COURT:    I think that it -- I think that is

18       correct as far as it goes.      I think to the extent you are

19       relying on the co-conspirator -- or the co-conspirator

20       exception to the hearsay rule.        It has to be also in

21       furtherance of the conspiracy.        I think it is okay as long as

22       someone is encouraging others to do it and in order to protect

23       their own marketplace.      So if you have a vendor on the darknet

24       who is telling people to use Bitcoin Fog, that is in

25       furtherance of the conspiracy.        And I suppose there is also
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1        just a question at some point of whether it is just a statement

2        against interest, someone is simply saying they are laundering

3        funds on a public forum.

4                   But I don't know if that is an argument you are

5        making now or not.      I guess all I am saying as we go through

6        this, we have to look at them and see whether it is not only

7        referring to Bitcoin Fog by somebody who is using Bitcoin Fog

8        to allegedly launder funds, but whether it is in furtherance of

9        the conspiracy, as well.

10                  MR. EKELAND:      Your Honor, there are a whole host of

11       messages just on this exhibit that don't even mention Bitcoin

12       Fog and have nothing to do with -- you know, furthering a

13       conspiracy.    There is like a whole host of messages on this

14       exhibit that have nothing to do with furthering the conspiracy.

15                  THE COURT:     Can you point me to them?

16                  MR. EKELAND:      Can we just scroll through this?

17                  MS. PELKER:      I think the screen is currently up in

18       front of the jury.

19                  Mr. Ekeland is correct that this is -- the record is

20       Chemical Brothers' messages.         We are just specifically pointing

21       to the messages that pertain to Bitcoin Fog.

22                  THE COURT:     So why don't we do this then just to keep

23       things moving.       Let the government point to whatever it wants

24       to point to here.      If you have objections to the particular

25       things they point to, let me know what they are and I can make
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1        a judgment about whether they are in furtherance of the alleged

2        conspiracy and or the conspiracy.        And then I will let you all

3        confer about whether there need to be redactions to any other

4        portions of the document on hearsay grounds before it actually

5        goes to the jury.

6                    MR. EKELAND:    Your Honor, in light of what you just

7        said, can we not publish to the jury while they are lining up

8        the message that they want to show and -- just because I am

9        concerned as they scroll it they are going to see a whole bunch

10       of stuff.    If they turn off publication to the jury and then

11       the government lines up their message and we take it from

12       there.

13                   MS. PELKER:    That is fine with the government if it

14       is fine with Ms. Walker.

15                   THE COURT:    All right.    Ms. Walker says it is okay.

16       Let's go that way.     Thanks.

17                   (End of bench conference.)

18                   THE COURT:    All right.    You may continue.

19       BY MS. PELKER:

20       Q.    Agent Santell, can you read Chemical Brothers' response?

21       A.    "Hey, mate."

22       Q.    You can start with the second paragraph.

23       A.    "Your suggestion to tumble your coins sounds good mate,

24       but I would go as far as to do this.         If an open Wi-Fi

25       connection through Tor, create a dirty blockchain.info wallet,
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1        log out, save all of the details and log in from no info and

2        see if you can with the info you saved.          I'd suggest PGPing

3        this for -- or this info or storing it on a secure encrypted

4        hard drive.    Click use new identity in Tor and log onto Bitcoin

5        Fog, create a new deposit address.        Save this too.       Click use

6        new identity in Tor.     Log back into your wallet.         Then

7        purchased Bitcoins appear, send to Bitcoin Fog wallets, takes 2

8        hours to confirm, then log out.        Click use new identity in Tor.

9        And once it's cleared in Bitcoin Fog, transfer it across your

10       SR wallet.    I hope that helps."

11       Q.    Returning to 601A.

12                  THE COURT:    One last thing -- I'm sorry.          Just pick

13       up for one last second.

14                  (Conference held at the bench.)

15                  THE COURT:    It seems to me one further point to add

16       with respect to this.      To the extent the government has the

17       evidence already that these particular entities were, in fact,

18       engaged -- where the purchases were being made from -- with

19       funds drawn from Bitcoin Fog or they themselves were depositing

20       funds in the Bitcoin Fog.      That is in evidence already.           And it

21       may be that some of this also can potentially come in to state

22       of mind just to show that the person knew that they were doing

23       it -- using Bitcoin Fog or accurately the funds were coming

24       from Bitcoin Fog.     And that is, I guess, a separate question

25       which we'll have to address as it comes up as to whether it is
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1        not coming in necessarily for the truth of the matter asserted,

2        but what the state of the mind was of the individual.

3                   MR. EKELAND:     That would be just in relation to

4        statements that are actually mentioning Bitcoin Fog?

5                   THE COURT:    Correct.

6                   (End of bench conference.)

7        BY MS. PELKER:

8        Q.    Directing your attention to row 11.             Did you review the

9        Silk Road records for the Bitcoin Fog user Mario's Gram Shoppe?

10       A.    I did.

11       Q.    And directing your attention to exhibits not yet in

12       evidence, 616C, D, and E.      And E are the messages and per

13       discussion on the phone earlier.

14             Are Exhibits 616C, D and E fair and accurate reflections

15       of the records pertaining to Mario's Gram Shoppe obtained by

16       the FBI and provided from Silk Road 2?

17       A.    Correct.

18                  MS. PELKER:     Government moves to admit 616C, D and E

19       subject to the discussion.

20                  THE COURT:    Okay.      Mr. Ekeland.

21                  MR. EKELAND:     Cumulative, relevance, more prejudicial

22       than probative, and hearsay.

23                  THE COURT:    So I will admit 616C, D and E subject to

24       our discussion.

25                  (Whereupon, Exhibit No. 616C, D and E were admitted.)
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1        BY MS. PELKER:

2        Q.    Directing your attention to 616D.          How many orders did

3        Mario's Gram Shoppe ship?

4        A.    1,436.

5        Q.    And where were they shipping from?

6        A.    United States.

7        Q.    What were the top items sold?

8        A.    14 grams of HCL and 3.5 grams of uncut cocaine.

9        Q.    And then could you read the last three listings here too

10       or the last three items sold?

11       A.    Yep.   3.5 grams of crack cocaine, 28 grams of famous

12       German-made MDMA and 14 grams of our famous German-made MDMA FE

13       only.

14       Q.    If we could go to -- actually, if we could pull down and

15       then go to Exhibit 616E.      And go to the December 18th, 2013

16       conversation with Indica 420.

17                    THE COURTROOM DEPUTY:      Is that it?

18                    MS. PELKER:    Yes.    With the Court's permission we

19       would publish this message to the jury.

20                    THE COURT:    Mr. Ekeland?

21                    I'm sorry?

22                    MR. EKELAND:   Can we pick up the phone for one

23       second?

24                    THE COURT:    Okay.

25                    (Conference held at the bench.)
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1                   MR. EKELAND:     I'm sorry.     This is seeking to admit

2        this under the co-conspirator -- this is post mix; right?                Once

3        funds arrive from Bitcoin Fog, it is not -- so I don't see how

4        it is -- how this is in furtherance of the conspiracy.                Because

5        there is no -- it is post mix.

6                   THE COURT:    Ms. Pelker.

7                   MS. PELKER:     I am not sure I understand the legal

8        distinction of pre or post mix here.         There is a Bitcoin Fog

9        user who is explaining how they are going to purchase crack

10       cocaine once they are able to clean their funds from Fog, part

11       of the defense's argument, as we understand it, is that Bitcoin

12       Fog was a privacy service.       And that money coming from or to

13       exchanges, is quote/unquote clean.        We have presented testimony

14       that money coming from an exchange into Bitcoin Fog is not

15       necessarily clean, privacy-related funds.            And showing these

16       are buyers who are using Bitcoin Fog to do these transactions

17       goes to the rebutting the defense arguments here.

18                  MR. EKELAND:     There is --

19                  THE COURT:    Okay.

20                  MR. EKELAND:     I was going to say, there is no

21       foundation for saying that this -- that there is any knowledge

22       on the part of the administrator that these funds coming in

23       were going to be used for a drug purchase afterwards.                 Maybe if

24       the Indica420.SR2 was talking about, oh, after I get paid, I am

25       going to go mix the funds, that would be a statement in
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1        furtherance of the conspiracy.       But this on its face is a

2        statement in furtherance without more.

3                   THE COURT:    I guess I am wondering whether it is in

4        furtherance of the conspiracy or whether there is some other

5        exception that would apply here or whether it is, in fact,

6        being offered for the truth of the matter asserted.             I suppose

7        it is being offered for the truth of the matter asserted.             And

8        it is not clear to me how it furthers the conspiracy.

9                   MS. PELKER:     I think it furthers the conspiracy that

10       you have a conversation between the drug buyer and the drug

11       seller discussing how they are going to conduct the

12       surreptitious drug purchase and transaction.           And they are

13       explaining the role of Bitcoin Fog in cleaning those funds.

14                  MR. EKELAND:     But nothing in that, Your Honor, goes

15       to the knowledge of the administrator of Bitcoin Fog in

16       relation to this transaction.

17                  THE COURT:    That I don't think matters.          But I guess

18       I am still trying to figure out whether it really is in

19       furtherance of the conspiracy.

20                  MS. PELKER:     Your Honor, these are buyers who are

21       saying that they can't do their drug buy until the funds clear

22       through Bitcoin Fog, because Bitcoin Fog is such an essential

23       part of their money laundering operation.

24                  THE COURT:    Right.     But how is saying that furthering

25       the conspiracy?
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1                   MS. PELKER:     Furthering the conspiracy of cleaning

2        the funds to be able to do drug buys.         Here, they are -- this

3        is an agreement between the buyer and the seller and the

4        administrator of Bitcoin Fog to clean these funds and

5        participate in this entire ecosystem here.            And so you have two

6        members of the conspiracy having a conversation about the role

7        of Bitcoin Fog in their operation.

8                   MR. EKELAND:     Your Honor, there is no foundation for

9        saying the funds were not already clean.             What they are saying

10       is that the -- he is waiting for funds to come out of Bitcoin

11       Fog.   There is nothing here that establishes that the funds

12       going into Bitcoin Fog were dirty in the first place.

13                  MS. PELKER:     I mean, he is using it to buy drugs.

14       They are probably coming from his exchange account.              He is

15       using Bitcoin Fog to hide from the exchange that he is buying

16       drugs.

17                  THE COURT:    I get what he is doing.          I guess the

18       question is -- the only question I am struggling with at all is

19       whether in telling the seller this is in furtherance of the

20       conspiracy.    And if he was telling them that because the seller

21       would be more likely to sell it to them, because the funds had

22       been cleaned, I get that.      But it is not clear to me whether

23       that is, in fact, what is going on here.

24                  MS. PELKER:     So there is a -- after this message

25       occurs, there is then a purchase of 1 gram of crack cocaine.
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1        This is the buyer negotiating with the seller on the purchase

2        of a gram of crack cocaine explaining how they are going to pay

3        for those funds and that they are waiting for the funds to be

4        laundered through Bitcoin Fog.       It is a comment about the

5        action that is being taken in furtherance of the conspiracy

6        mixing the funds.

7                   THE COURT:    Right.     But the statement has to be in

8        furtherance of the conspiracy.       The statement itself has to be

9        in furtherance of the conspiracy.        So the question is whether

10       his saying this furthers the conspiracy in some way or whether

11       there is some other exception that applies.

12                  MS. PELKER:     He is communicating -- it is a buyer

13       communicating with the seller about a drug transaction.               They

14       are negotiating a drug transaction.         Part of the goals of the

15       conspiracy was to clean funds allowing people to do anonymous

16       drug transactions.     And that is exactly what they are

17       discussing here.

18                  MR. EKELAND:     Nothing in the statement furthers the

19       conspiracy, Your Honor.      It is just merely a statement about

20       Indica420 waiting for their funds to arrive.

21                  MS. PELKER:     But it is an explanation of why there is

22       a delay in purchasing -- in remitting the funds over sending

23       the funds through Silk Road to make the purchase.

24                  MR. EKELAND:     And that delay has nothing to do with

25       furthering the conspiracy.      It is a temporal statement about
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1        the current situation.

2                   THE COURT:     Anything else on this, Ms. Pelker?           I am

3        frankly not sure.

4                   MS. PELKER:      No, Your Honor.      Just to the extent that

5        the defense is then going to try to argue that the funds coming

6        in to Bitcoin Fog from exchanges and are somehow clean, that

7        this is important evidence in the government's case to be able

8        to rebut that.       And we think that discussion about this payment

9        does go to further that aspect of the conspiracy.

10                  MR. EKELAND:      I don't quite understand that upstream

11       liability of money theory, because that would, I think, just

12       implicate banks and almost every financial institution that has

13       anybody's --

14                  THE COURT:     That argument is not persuasive to me.

15       Because the whole point here is that it is allegedly a money

16       laundering service that is allowing him to purchase drugs in a

17       way that he is not going to get in trouble or thinks he is not

18       going to get in trouble, because he is laundering the funds and

19       people are not going to be able to understand he did that.              So

20       that argument is not persuasive to me.           Someone wouldn't, in

21       fact, go down to their bank and say -- you know, they wouldn't

22       get down to the local dealer and write a check, say, here is

23       the check, because they wouldn't want someone to be able to

24       trace it back.       That is the whole point here.

25                  I am still not sure this actually is in furtherance
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1        of the conspiracy, because saying that I can buy these drugs

2        once the funds are laundered.       You know, if there were any

3        reason to think that gave additional security to the seller, I

4        think I would be convinced of that, but I am not sure I see

5        that here.     So why don't we move on.      I will give this a little

6        bit further thought.     But at this point, I am not convinced it

7        is in furtherance of the conspiracy.

8                   MS. PELKER:     Yes, Your Honor.

9                   (End of bench conference.)

10       BY MS. PELKER:

11       Q.    If we could move to Exhibit 616C.

12                  THE COURT:    My apologies.

13       BY MS. PELKER:

14       Q.    And directing your attention down to row 45.            And if we

15       could scroll over to the right into column R.            What is the item

16       being purchased here?

17       A.    1 gram of uncut cocaine.

18       Q.    And on column U?     What is the price listed there?

19       A.    809.93.

20       Q.    If we could scroll all of the way down to the bottom.            How

21       many entries are in this order record?

22       A.    1,472.

23       Q.    Did you also review Silk Road 2 records for the user

24       Budworx?

25       A.    I did.
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1        Q.    If we could direct your attention to what is not yet in

2        evidence 613C.       Is 613C a fair and accurate reflection of

3        Budworx' activity on Silk Road 2?

4        A.    That's correct.

5                   MS. PELKER:      Government moves to admit Exhibit 613C.

6                   THE COURT:     Any objection?

7                   MR. EKELAND:      Cumulative, relevance, more prejudicial

8        than probative and hearsay.

9                   THE COURT:     Can you open the document for me?

10                  MS. PELKER:      This is just the order spreadsheet, Your

11       Honor.

12                  THE COURT:     Overruled.

13                  And Exhibit 613C is admitted.

14                  (Whereupon, Exhibit No. 613C was admitted.)
15                  THE COURT:     If there is any particular hearsay in it,

16       you can draw my attention to it.          That goes in general for all

17       of these exhibits, Mr. Ekeland, where it is not sufficient to

18       just object to a large exhibit on hearsay grounds.               If there is

19       particular hearsay, you should direct me to it.

20       BY MS. PELKER:

21       Q.    Agent Santell, can you explain what is shown in row 3?

22       A.    Sure.   It is an order.        The buyer's name is Ghost.

23       Q.    If we can scroll over to the right, column R.              Can you

24       note what item is being purchased here?

25       A.    It is premium uncut cocaine for .5 grams.
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1        Q.    What is over on column T, what is the Bitcoin price?

2        A.    Roughly .157.

3        Q.    And row 4, column R, can you read the item title for that

4        order?

5        A.    Amphetamine, 10 grams.

6        Q.    Scrolling down to the bottom.       How many orders are shown

7        here on this spreadsheet?

8        A.    1,725.

9        Q.    Can you read the listing title for 1,725?

10       A.    I didn't -- I made a mark.

11       Q.    I can clear it.    If you click on the triangle on the upper

12       left-hand --

13       A.    I am trying to click clear.       It is not listening to me.

14       And then it went dark.

15                    THE COURTROOM DEPUTY:     That was me.

16                    THE WITNESS:   All right.     Good.     Perfect.   Thank you.

17                    So for 1725, that row.

18       BY MS. PELKER:

19       Q.    Yes.   Could you read what is in column R?

20       A.    MDMA, crystal, premium uncut, 90 percent, 2 grams.

21       Q.    Pulling back up 601A.

22             Did you review the Silk Road 2 records for the Bitcoin Fog

23       user Crystal Buddha?

24       A.    I did.

25       Q.    And what is -- if we could pull up what is not yet in
     Case 1:21-cr-00399-RDM   Document 287   Filed 03/16/24   Page 98 of 146
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1        evidence, 616CD and E in which E is the messages.             And we have

2        one message from Crystal Buddha specifically to show.                 Are

3        Exhibits 615C, D and E, fair and accurate reflections of the

4        records pertaining to Crystal Buddha on Silk Road 2 as

5        collected by the FBI?

6        A.    That is correct.

7                   MS. PELKER:     Government moves to admit 615C and D and

8        615E, the messages, subject to the Court's ruling?

9                   THE COURT:    Mr. Ekeland.

10                  MR. EKELAND:     Cumulative 401, 403, 803.

11                  THE COURT:    So I am going to admit 615C, D and E

12       subject to the defense having the right to object to any

13       particular assertions on hearsay grounds, but you need to draw

14       my attention to them.

15                  (Whereupon, Exhibit No. 615C, D, and E were
16       admitted.)
17       BY MS. PELKER:

18       Q.    Directing your attention to 615D.         What are Crystal

19       Buddha's top products?

20       A.    Top products would be 1 ounce pure meth and then 7 grams

21       of pure meth and then 14 grams of pure meth.

22       Q.    Where is Crystal Buddha shipping from?

23       A.    Ships from the United States.

24       Q.    Where is it shipping to?

25       A.    The rest of the world.
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1        Q.    Pulling up 615C.     And if we could scroll to the right.

2        What is the item title right there in column R for the first

3        item sold?

4        A.    One ounce of pure meth.

5        Q.    Going over to column T.       How much was Crystal Buddha

6        charging for one ounce of meth at the time?

7        A.    Roughly 2 Bitcoin.

8        Q.    And scrolling all of the way down to the bottom.                 How many

9        sales are noted?

10       A.    445.

11       Q.    And could you read the title in column R of the last item

12       listed?

13       A.    7 grams pure cocaine, domestic listing only.

14       Q.    What was the price over in column T.           What is the price in

15       Bitcoin?

16       A.    Roughly 1.165 Bitcoin.

17       Q.    And going to the right to column V.            What was the pricing

18       in US dollars?

19       A.    $396.20.

20       Q.    If we could take down what is being published to the jury

21       and going to 615E.     And if we could go down to the message from

22       Crystal Buddha on September 30th, 2014.

23                    THE COURTROOM DEPUTY:     Let me know when you are ready

24       for me to publish.

25                    MS. PELKER:   If we could try and zoom in so we are
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1        only looking at --

2                    With the Court's permission, we would publish this to

3        the jury.    We can scroll down a bit right there just so we can

4        see the Bitcoin address at the top.

5                    (Pause.)

6                    THE COURT:    Let's pick up for a second.

7                    (Conference held at the bench.)

8                    THE COURT:    So Crystal Buddha is the market, is

9        that --

10                   MS. PELKER:    Crystal Buddha is the vendor.          Is one of

11       the individuals who is noted on the government's bill of

12       particulars.

13                   THE COURT:    Right.    And then who is the other

14       participant in the conversation?

15                   MS. PELKER:    I Have a Bong is a buyer and they have

16       negotiated a partial refund.        And so this is Crystal Buddha --

17                   MR. EKELAND:    We just lost you, Your Honor.          I can't

18       hear you.

19                   MS. PELKER:    Can you hear me?

20                   MR. EKELAND:    I can hear you.

21                   THE COURT:    Can you hear me?

22                   MR. EKELAND:    Yes.

23                   MS. PELKER:    Can you hear me?

24                   THE COURT:    I can hear you.

25                   MS. PELKER:    Crystal Buddha is the vendor.          I Have a
     Case 1:21-cr-00399-RDM   Document 287     Filed 03/16/24   Page 101 of 146
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1        Bong was the buyer.      They have negotiated a partial refund.

2        And so this is Crystal Buddha discussing with I Have a Bong,

3        the laundering of that refund payment pertaining to their drug

4        transaction.     And Crystal Buddha is explaining that he is

5        making that transaction through Bitcoin Fog.              He has to wait

6        for it because it is down.          This is in furtherance of Crystal

7        Buddha's drug-dealing activities.           He has a relationship with I

8        Have a Bong.     He wants to continue that by processing this

9        refund.    And they are both very interested in ensuring that

10       their identities remain anonymous.           This is actually a

11       transaction that they are discussing happening outside of the

12       marketplace but pertaining to their drug transactions.

13                   MR. EKELAND:    Your Honor, it is not clear to me they

14       are actually using Bitcoin Fog, because they are just talking

15       about it.    But they are not -- the first transaction is saying,

16       I just sent it to you through a mizer, which I am assuming is a

17       mixer.    It is not clear to me that is Bitcoin Fog.

18                   MS. PELKER:    Defense can argue that.          He is saying

19       Bitcoin Fog and says will arrive in 6 hours, which is Bitcoin

20       Fog's standard delay.

21                   THE COURT:    All right.      So I don't think it is being

22       offered for the truth of the matter about whether Bitcoin Fog

23       was down for maintenance or not.

24                   MS. PELKER:    Correct, Your Honor.

25                   THE COURT:    And tell me, is Crystal Buddha the
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1        purchaser or the seller?

2                    MS. PELKER:    He is the vendor.           So he is the seller.

3        He is refunding a payment.          So this is --

4                    THE COURT:    I see.

5                    MS. PELKER:    -- him taking the money of the proceeds

6        of this drug deal and partially refunding a buyer using Bitcoin

7        Fog to conceal his identity.

8                    THE COURT:    And he says that he can't do so right now

9        because Bitcoin Fog is down?

10                   MS. PELKER:    Yes.

11                   MR. EKELAND:    Are we sure this -- this is an honest

12       question.    Are we sure this is a drug deal?             Is this all that

13       Crystal Buddha is dealing in?          Because Silk Road deals with a

14       lot of other stuff.

15                   MS. PELKER:    I mean, we can scroll up, if that is

16       going to be the issue here, but --

17                   MR. EKELAND:    You can tell me if the answer is yes,

18       then I will save the time.          I will trust you on that.         That is

19       an honest question.      I just --

20                   THE COURT:    I think --

21                   MR. EKELAND:    You are cutting in and out, Your Honor.

22                   THE COURT:    You are losing me?

23                   MR. EKELAND:    Now I can.

24                   THE COURT:    I wonder if the batteries are starting to

25       go on these things.
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1                    MR. EKELAND:    That might be it.

2                    THE COURT:    Yes.      Ms. Pelker.

3                    MS. PELKER:    Yes, I do.       If we could -- can you

4        scroll up?

5                    But all Crystal Buddha was selling was drugs.                 I

6        believe this was a -- we can keep scrolling up.                This was an

7        issue with a --

8                    THE COURT:    You passed it.        Pure meth.

9                    MS. PELKER:    So this was -- the buyer had purchased

10       meth.

11                   THE COURT:    Okay.     Does this address your concern?

12                   MR. EKELAND:    It does.

13                   THE COURT:    All right.      Then we can proceed.

14                   Thank you.

15                   (End of bench conference.)

16                   BY THE COURT:    All right.       You may proceed.

17       BY MS. PELKER:

18       Q.    And if we can publish just this screen to the jury.

19             Can you read the message from Crystal Buddha on 30 of

20       September?

21       A.    "Not sure what is going on with SR, can't make withdrawals

22       and Bitcoin Fog is down for maintenance.               I made a note of it

23       and will do it later today when Bitcoin Fog is back on."

24       Q.    And can you read the next message from Crystal Buddha two

25       sections down?
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1        A.    "Just sent it to you through the mizer.           It will arrive in

2        6 hours."

3        Q.    If we could pull back up 601A.

4              And Special Agent Santell, did you also review the Silk

5        Road 2 records for the Bitcoin Fog user Shine Cartel?

6        A.    I did.

7        Q.    And directing your attention to what is not yet in

8        evidence, 617C and E.       And are these fair and accurate

9        reflections of the records pertaining to Shine Cartel as

10       obtained by the FBI on Silk Road 2?

11       A.    Yes.

12                    MS. PELKER:    Government moves to admit C and E.          E

13       are the messages and subject to the Court's prior ruling here,

14       we are just going to show one particular message.

15                    THE COURT:    All right.

16                    MR. EKELAND:    Cumulative 401, 403, 803.

17                    THE COURT:    So I will admit 617C and E.        But, again,

18       with the proviso, if there is any particular statement in here

19       that you believe is hearsay, Mr. Ekeland, you need to point me

20       to it.

21                    (Whereupon, Exhibit Nos. 617C, E were admitted.)
22       BY MS. PELKER:

23       Q.    If we could pull up 617C and directing your attention to

24       the order in row 3.       Can you read the title of the item --

25       we'll have to scroll over to column R here?
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1        A.    It is .5 grams of 96.4 percent pure Columbian fish scale

2        cocaine from the Shine Cartel.

3        Q.    Can you scroll all of the way down to the bottom?

4              And how many items are listed here?            How many sales are

5        listed here?

6        A.    1,539.

7        Q.    And for the row 1,539, can you read the title of that

8        listing?

9        A.    Yes.   .5 grams of pure Columbian fish scale cocaine from

10       Shine Cartel.

11                    MS. PELKER:    If we could now pull down the jury's

12       screen for a moment and go to 616E.         If we could go to the

13       June 16th message from between Shine Cartel and Scott2687.

14                    And with the Court's permission, we would publish

15       just this transaction or this message to the jury.

16                    THE COURT:    All right.   Any objection to that?

17                    MR. EKELAND:   Can you pick up the phone real quick?

18                    THE COURT:    Okay.

19                    (Conference held at the bench.)

20                    MR. EKELAND:   I just -- maybe there is a quick

21       answer -- is this related -- where is the connection to Bitcoin

22       Fog or the furtherance of the conspiracy in this one?               I see

23       Silk Road mentioned.       Is it just coming later?

24                    MS. PELKER:    If you read Shine Cartel's message, it

25       is talking about if you do use your account to buy coin --
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1                    MR. EKELAND:    I see it, yeah.           Just the standard

2        objection, Your Honor.      But it is -- I don't think this is in

3        furtherance of the conspiracy.

4                    THE COURT:    Ms. Pelker.

5                    MS. PELKER:    So this is the vendor who is talking

6        about how to ensure that he and his customers are cleaning

7        their funds by laundering them through Bitcoin Fog.

8                    THE COURT:    Anything further on this, Mr. Ekeland?

9                    MR. EKELAND:    No.     I just don't think it is in

10       furtherance of the operating of Bitcoin Fog.

11                   THE COURT:    It may not be in furtherance of the

12       cooperation of Bitcoin Fog.         I think it is in furtherance of

13       the alleged money laundering conspiracy.              The other question I

14       had about some of these things, I am not sure we need to get

15       into this is whether some of these things, even though they are

16       illegal businesses, are business records.              I don't think we

17       need it for this one.

18                   MS. PELKER:    So the defense -- I guess there is a

19       question of whether that is an authenticity or hearsay

20       question.    But defense did stipulate to the authenticity of the

21       Silk Road 1 and 2 records that are coming in.

22                   THE COURT:    It may be that for other purposes, I

23       don't think -- I do think this is in furtherance of the

24       conspiracy, but it may be with respect to other records, they

25       are, in fact, business records.
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1                    MR. EKELAND:    These are compiled by the FBI; is that

2        right?    So I think what we stiped to was the authenticity of

3        the FBI compilation but they are not actually business records

4        as I know it from Silk Road.        But we can save that for another

5        time.    I am not trying to get into a big evidentiary fight

6        here.

7                    THE COURT:    All right.     Thanks.

8                    (End of bench conference.)

9                    MS. PELKER:    If we can zoom in.         If we could publish

10       this to the jury?

11                   THE COURT:    You may.

12       BY MS. PELKER:

13       Q.     And Special Agent Santell, can you just read the last

14       sentence of Scott 2687's message there?

15       A.     If you -- otherwise if you do use your account to buy

16       Bitcoin --

17       Q.     I'm sorry.    Just the end of Scott 2687's message at the

18       top.    So starting with, so can you recommend?

19       A.     "If so, can you recommend a good Bitcoin site?"

20       Q.     Can you read Shine Cartel's response?

21       A.     "An O will be 1750 GPD with free delivery.            It is best to

22       go through Silk Road and if you Google buy Bitcoins for cash

23       there are a couple of sites which offer peer-to-peer cash

24       exchange services.      Otherwise, if you do use your account to

25       buy Bitcoin, it is always advised to run the coin through
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1        Bitcoin Fog before sending it to SR."

2        Q.    Returning to 601A.     Did you review the Silk Road 2 for the

3        records vendor -- last one on the list, Trevor Philips

4        Enterprises?

5        A.    I did.

6        Q.    What is not yet in evidence, if we could direct your

7        attention to 617D and E.      And are 617D and E, where E is the

8        messages, fair and accurate reflections -- 618, thank you.

9                    THE COURTROOM DEPUTY:      I'm sorry.      618?

10                   MS. PELKER:    618D.

11                   THE WITNESS:    Yes.

12       BY MS. PELKER:

13       Q.    Are these fair and accurate reflections of the records

14       from Silk Road 2 as obtained by the FBI?

15       A.    That's correct.

16                   MS. PELKER:    If we could go to 618D and then publish

17       to the jury -- or government moves to admit 618D and 618E,

18       subject to the Court's prior ruling.

19                   THE COURT:    Any objection?

20                   MR. EKELAND:    Cumulative 401, 403, 803.

21                   THE COURT:    So same decision as to this.         I will

22       admit those exhibits, but with the understanding that if there

23       is any particular hearsay in those exhibits, the defense will

24       bring that to my attention and I will reserve ruling on that.

25                   (Whereupon, Exhibit Nos. 618D, 618E were admitted.)
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1        BY MS. PELKER:

2        Q.    And if we could direct your attention on 618D.               How many

3        orders has Trevor Philips Enterprises completed?

4        A.    1,332.

5        Q.    Where was he shipping from?

6        A.    The United States.

7        Q.    What are the top items sold?

8        A.    Very high quality cocaine and just various grams of that.

9        Q.    If we can go to page 16.         And if we could read toward the

10       bottom of this page in the description under mission.                Can you

11       read that paragraph there?

12       A.    "Trevor Philips Enterprises is a group dedicated to

13       supplying our customers with the best quality product in the

14       world as well as keeping said customers safe and informed.                 We

15       pride ourselves in the products we supply and we test them for

16       cuts and purity regularly.          Our shipping standards will allow

17       it so no" cocaine unit will --

18       Q.    Could you re-read that?        So no --

19       A.    Our shipping --

20             Say again?

21       Q.    Could you re-read that, allow it so no?

22       A.    "Our shipping standards will allow it so no canine unit

23       will ever be able to sniff and hit your parcel.               We get the

24       best of the best and we want you to have it.              Our customer

25       service is impeccable.      And we have been in this business for
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1        quite a while, so rest easy when ordering with us."

2        Q.    And scrolling down a bit, if we could direct your

3        attention to the section under cocaine.              Could you read the

4        first two sections there for IV use and smoking use?

5        A.    "For IV use, please do not order this and IV it

6        immediately if you have been used to street quality products.

7        You need to ease into this cocaine for IV use.              If you take too

8        much in the first shot there might not be a second chance at

9        it.   Our product is safe but a high quantity in a syringe might

10       kill you if you are not used to it.

11             "Smoking use, you can cook this into free space crack, if

12       you would like or product gives you a 1 to 1 ratio of crack

13       back if you try to make it as pure as possible.               This process

14       makes many a crack smoker unbelievably happy."

15       Q.    If we could go to 602A, which is in evidence.

16             Special Agent Santell, do you remember testifying about

17       the categories on the Silk Road home page?

18       A.    Say that again?

19       Q.    Do you recall testifying earlier today about the

20       categories on the Silk Road?

21       A.    Yes.

22       Q.    And are there categories here other than drugs?

23       A.    There are.

24       Q.    Are you generally aware of what sorts of things were sold

25       in those categories?
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1        A.    That's correct.

2        Q.    What was that?

3        A.    So we have apparel.     And inside of the apparel section, it

4        was like fake Armani suits and fake Rolex watches.             For books,

5        typically the books we saw were instructions about how to do

6        various criminal activities such as, you know, how to make

7        meth, you know, how to -- what to do with MDMA.             It wasn't like

8        how to raid [sic] a child.

9        Q.    I want to be clear, you said how to raise a child; right?

10       A.    Yes.

11       Q.    You said it was not like how to raise a child?

12       A.    That's correct.     I guess, you know, go on but it -- for

13       the most part, everything on here was used in some fashion

14       to -- for drug purposes.

15       Q.    If we could pull up Exhibit 608J, which was in evidence.

16       And for the entry in line 3, can you read the title in column

17       J?

18       A.    MDMA synthesis instruction book.

19       Q.    And going one column over.       Can you read the first

20       paragraph of this description?

21       A.    "This listing is for an ebook manual that teaches you

22       step-by-step instructions how to synthesize MDMA or ecstasy.

23       It tells you each and every item you will need, examples of

24       where to get it, what items those chemicals are in them,

25       pictures of lab equipment and explained in simple terms how to
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1        do it.    Many people have bought it and have been able to follow

2        it and have said it is very helpful and easy to fallow.                  Many

3        people pair" --

4        Q.    You can stop there.

5              Going down now to row 19.       Can you read the title in

6        column J?

7        A.    "Guide to postal smuggling ebook."

8        Q.    And can you -- staying over in column K, can you read the

9        beginning of the description?

10       A.    "This is an ebook titled, guide to Postal smuggling.                It

11       is a book written by multiple people and pulled together from

12       multiple sources.      It outlines how the Postal Service, both

13       international and domestically operate.              It tells how they

14       inspect mail, how they handle it, how they pick and choose what

15       to inspect.    What they look for, how to package your own items

16       safely and how to use a PO Box for contraband covertly and how

17       to detect if there is an order from the Postal inspector to put

18       your PO Box under watch without you knowing."

19       Q.    And can you -- if we scroll down to the paragraph marked

20       good news.    Can you read the beginning of this next section

21       with the sequel to this ebook is in the works?

22       A.    "The sequel to this ebook is in the works.              It will focus

23       more on tactics for SR shipping, how to tell if a postal worker

24       is flagging your international item at the time you ship.                 It

25       will outline how USPS has just implemented new measures to
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1        better track email and shippers as well as never before

2        disclosed info on how their servers work to log info."

3        Q.    Are these examples of the books that are sold on Silk Road

4        and darknet markets?

5        A.    They are.

6        Q.    And you can take down this exhibit.

7              In your work for this case, did you review records for the

8        darknet site Welcome to Video?

9        A.    I did.

10       Q.    What was Welcome to Video?

11       A.    Welcome to Video was a child porn site where people were

12       able to upload and download images and videos of child

13       pornography.

14       Q.    Did Welcome to Video allow anything else other than child

15       sexual abuse material?

16       A.    They did not.

17       Q.    Was the site on the clearnet or on Tor?

18       A.    Clearnet and Tor, I believe.

19             The site was on clearnet as well as Tor.

20       Q.    Are you sure about that?

21                   MR. EKELAND:    Objection.      He answered the question,

22       Your Honor.

23                   THE COURT:    Yeah.     I think it is okay to ask the

24       question again, if you would like.

25       BY MS. PELKER:
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1        Q.    Special Agent Santell, can you take a moment to recall the

2        Welcome to Video site.      And do you recall -- understanding that

3        you didn't work on the case, do you recall whether it was on

4        clearnet or on Tor?

5                    MR. EKELAND:    Objection, Your Honor.

6                    THE COURT:    Let me just ask the witness, do you have

7        personal knowledge of about whether the Welcome to Video site

8        was on the clearnet or darknet, do you know?

9                    THE WITNESS:    It was on -- I believe it was on

10       clearnet.    Full personal knowledge, I am lagging a little bit.

11       BY MS. PELKER:

12       Q.    You didn't work on the Welcome to Video case, to be clear?

13       A.    That is correct.

14       Q.    But did you then review records that were obtained from

15       Welcome to Video?

16       A.    I did.

17       Q.    And did you review records from Welcome to Video that were

18       obtained when the site was seized by law enforcement?

19       A.    I did.

20       Q.    Showing you Exhibit 623, which is previously admitted.

21       And is this a list of the Welcome to Video users whose account

22       records you reviewed?

23       A.    That's correct.

24                   MS. PELKER:    And if we could, at this time, Your

25       Honor, have the Court read in the Welcome to Video stipulation?
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1                    THE COURT:    So here is another stipulation between

2        the parties.     And as I told you before, a stipulation are

3        agreed upon facts by the parties.         And so you should treat this

4        as uncontested evidence in the case.          And the stipulation is as

5        follows:    For Exhibits 624, 625, 626, 627, 628A, 628B, 629,

6        630A, 630B, 631, 632 and 633, the redacted video titles and

7        descriptions in columns F, G and H, establish that the listed

8        user committed a violation of a federal offense, namely obscene

9        visual representation of the sexual abuse of children in

10       violation of 18 United States Code section 1466(a).

11                   For Exhibits 624, 625, 626, 627, 628A, 629, 630A,

12       631, 632, and 633, the listed user committed those violations

13       using funds associated with the Bitcoin address listed in

14       column A.

15                   None of the listed users or accounts contained in

16       Exhibits 624 through 633 were or belong to the defendant Roman

17       Sterlingov at any time.

18                   All right.    Can I ask before we move on to another

19       topic to pick up the phone with one more thing?

20                   (Conference held at the bench.)

21                   THE COURT:    Can you hear me okay?

22                   MS. PELKER:    Yes, Your Honor.

23                   THE COURT:    I am just continuing to think about the

24       hearsay issue and as it relates to the records that have come

25       in this morning.     And my understanding is that the alleged
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1        conspiracy was between Mr. Sterlingov and anyone else who was

2        involved in administering or running Bitcoin Fog and the

3        vendors -- darknet vendors or vendors; correct?

4                    MS. PELKER:    Anyone who was using Bitcoin to launder

5        narcotics trafficking proceeds and activities.            So the darknet

6        market administrators, the vendors.         We would say the buyers

7        are also in furtherance of that.

8                    THE COURT:    That is what the question was, whether

9        the buyers were or not.      Because it is not clear to me whether

10       the buyers were.      If the buyers were not, then I wonder whether

11       the statements by the buyers, even where the buyers are saying,

12       you know, I want to use Bitcoin Fog or whatever, were in

13       furtherance of the conspiracy or whether they were alleged

14       co-conspirators for those purposes.         This has, obviously,

15       gotten a little bit confused, because we are dealing with these

16       large data files.      And I can't count the number of times that

17       Mr. Ekeland has categorically objected to all evidence,

18       including evidence that is undoubtedly not even close to

19       hearsay, on hearsay grounds.        It is just for preserving a

20       hearsay objection to everything that is coming in.             And we are

21       dealing with very large Excel spreadsheets.            I don't know

22       everything that is in each and every line.            It would take more

23       time than we have for me to go through those as they are coming

24       in to evidence.

25                   I guess I want to say that if there is anything that
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1        has either been already presented to the jury that falls into

2        that category that I need to consider further, that the defense

3        can point me to that I should strike, the defense should tell

4        me that now or before this witness leaves the stand.               And, as

5        the parties go through these exhibits before they go back to

6        the jury, if there are portions where there are references to

7        Bitcoin Fog or other hearsay that don't involve the vendor

8        talking about efforts to use or encouraging others, for

9        example, to use Bitcoin Fog in a way as operational security,

10       then the defense just needs to bring that to my attention

11       before those exhibits go to the jury.          And as I said, if there

12       is anything I need to strike today that falls into that

13       category that we have missed thus far, defense should tell me

14       what that is.

15                   And if the government wants me to point to something

16       that explains that the conspiracy is broader than that, it is

17       essentially even drug purchasers, then you need to point me to

18       that.    I don't think it was in the bill of particulars, but

19       maybe I missed it.

20                   MS. PELKER:    Your Honor, I think that it is essential

21       for this conspiracy to operate that you have money coming in

22       from exchanges and going into Bitcoin Fog.             And then from

23       darknet markets to then swap that money.             The buyers here are

24       an essential part of that role and conspiracy.

25                   THE COURT:    I guess they may be an essential part of
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1        the conspiracy.      But the question is whether they are alleged

2        to be co-conspirators who are identified as co-conspirators or

3        not.   As I am sitting here on the bench, I can't answer that

4        question with certainty now.         If we have to take a break to

5        look at that before this witness leaves the stand, we should

6        make sure we resolve it.       I just want to make sure because

7        there have been these categorical hearsay objections to

8        virtually every document that has been coming in in this case,

9        I want to make sure there is not something buried in there

10       where there was never a specific hearsay objection to the

11       particular line item where we didn't get a chance to talk about

12       whether this statement was by somebody who was a

13       co-conspirator.      I agree that anyone who was a vendor of

14       illegal goods falls within that category if they were making

15       statements about and encouraging others to use Bitcoin Fog to

16       clean their money, that is fine.         But I just want to make sure

17       that we haven't missed anything because of how this has all

18       come in.

19                   MS. PELKER:     Understood, Your Honor.        There are, as

20       the Court saw, simply, because of the -- in order to

21       authenticate the messages, we had to show them within the

22       record of the messages within that record from Silk Road.                But

23       we are happy to just excerpt the particular messages to send

24       back to the jury.       We are not trying to shoehorn in additional

25       evidence here.       It is just that the relevant information and
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1        messages fall within that document.

2                    THE COURT:    I will let you and defense counsel confer

3        about that.    And if you think that redacting everything except

4        for the message that you were pointing to is the right way to

5        do it, if you agree on, that is okay.           Or if the defense goes

6        through and thinks there are particular statements that are

7        hearsay that shouldn't come in, you are welcome to do that as

8        well.    And if you need to bring any disputes on that to my

9        attention, you can do so.

10                   MS. PELKER:    Understood, Your Honor.

11                   MR. EKELAND:    Your Honor, just in terms of time,

12       moving to strike stuff and in relation to the volume and this

13       witness, I just don't -- I am wondering without -- looking at

14       the clock -- if that is practical.          I do think if we talk and

15       work with the government --

16                   THE COURT:    It is 12:30 now.       So it may be -- I have

17       got a 1:00 in a case that is going to have even more

18       participants than this one.         We are going to have a full

19       courtroom at 1:00.      So it may be -- and you are not -- I don't

20       think you are probably going to get through your cross today,

21       so it may be that the government can't rest until Monday anyway

22       and you can have the weekend to go through things.

23                   The only reason I am flagging this now is if there is

24       something you are particularly concerned about and don't want

25       it to be percolating with the jury over the weekend even, you
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1        should tell me about that.          But if you all want the weekend to

2        go through these things, that is fine with me.

3                    MR. EKELAND:    I would prefer to take the weekend.

4        There is nothing that is like -- yeah, over the weekend.

5                    THE COURT:    Okay.     That is fine.

6                    (End of bench conference.)

7                    THE COURT:    All right.      You can continue.

8        BY MS. PELKER:

9        Q.    And if we can pull down what is currently being published

10       to the jury and pull up the redacted copies of Exhibits 624

11       through 633.     As those are being pulled up, Special Agent

12       Santell, did you review prior to your testimony and

13       pre-redaction the contents of Exhibit 624 through 633?

14       A.    That's correct.

15       Q.    Do they fairly and accurately reflect the records for the

16       users that were provided by the Welcome to Video case team?

17       A.    That is correct.

18                   MS. PELKER:    And if we can pull up and publish to the

19       jury the redacted copy.      Give me just a minute to keep pulling

20       these up.    And the government moves to admit the redacted

21       copies of 624 through 633 and subparts.                So 624, 625, 626, 627,

22       628A and 628B, 629, 630A, 630B, 631, 632 and 633?

23                   THE COURT:    All right.      Any objection?

24                   MR. EKELAND:    No, assuming they all match our

25       stipulation, which I think they do.           I just haven't personally
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1        looked through them, but I am assuming they are --

2                    THE COURT:    Exhibits 624 through 633 are admitted and

3        may be published to the jury.

4                    (Whereupon, Exhibit Nos. 624 through 633 were
5        admitted.)
6                    How much more time -- I am wondering whether this is

7        a good breaking point or what you want to do about timing.

8                    MS. PELKER:    I will finish after we go through these

9        spreadsheets --

10                   THE COURT:    How long?

11                   MS. PELKER:    Maybe 10 minutes, if that, but --

12                   THE COURT:    I hate to do it.      You know, I think we

13       probably should break for the day and then we'll come back on

14       Monday and finish up.      I do want to talk about scheduling with

15       counsel.    If we could pick up the phone for a moment.

16                   (Conference held at the bench.)

17                   THE COURT:    And the question is what we do about

18       Monday with the one juror who needs to be in Baltimore -- I

19       think the deputy clerk can tell us what time, but it was 3:30

20       or something like that.      I think it would mean going to lunch

21       or stopping at lunch time if we can keep her.            As I indicated,

22       this -- it is juror number 6 that we are talking about here who

23       is not a regular juror.

24                   MS. PELKER:    Where are we on -- I know I looked at

25       the Court's calendar last night.        It looked like next Friday is
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1        very full.    If we don't end on Thursday, will we be able to sit

2        on Friday?    And if not, what is juror availability looking like

3        for Monday, Tuesday of that follow week?               I am especially

4        concerned about deliberation time.

5                    THE COURT:     Deliberations I can be doing other things

6        during --

7                    MS. PELKER:     I meant juror availability for

8        deliberations.

9                    THE COURT:     So it was not as bad as I thought for

10       deliberations.       There was one person who had a medical

11       appointment on the 13th, someone who had a business trip on the

12       15th.    And I think those were the two, at least up until this

13       point.    Although I think people sometimes magically come up

14       with things they didn't bring to our attention earlier.                   I am

15       not saying they make them up, but they forget to tell us so

16       there could be more.

17                   MR. EKELAND:     I am guessing three days on the defense

18       case.    So we are not calling a lot of witnesses or we are

19       expecting it to go fast.       It depends on when -- I think the

20       government rests on Monday.          But I think we could -- on Monday

21       we could finish up this witness and get, you know, maybe even

22       finish up Professor Verret on Monday, assuming we figure out

23       the slide issue and all of that.

24                   THE COURT:     It depends.      So what is your view,

25       Mr. Ekeland, about whether I should just let this juror go now.
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1        We have four alternates.      And she is an alternate, so it is

2        not -- we would be delaying ourselves for something that

3        probably isn't going to matter at the end of the day.

4                    MR. EKELAND:    Can I consult with my client?

5                    THE COURT:    Absolutely.

6                    (End of bench conference.)

7                    THE COURT:    We are talking about scheduling before we

8        let you go for the weekend.         I want to make sure to let you

9        know.

10                   (Conversation held at the bench.)

11                   MR. EKELAND:    We'd like to keep juror number 6.

12                   THE COURT:    Okay.     I think if either side wants to do

13       that, we should do so.      Okay.

14                   So I will tell the jurors that we are going to sit

15       part day on Monday.      And I will ask her to do whatever she can

16       to make it as late in the day as possible.             Okay.

17                   MR. EKELAND:    Thank you, Your Honor.

18                   THE COURT:    And Ms. Pelker.

19                   MS. PELKER:    No, Your Honor.       Understood.

20                   THE COURT:    Okay.

21                   (End of bench conference.)

22                   THE COURT:    All right.     Members of the jury, we are

23       going to break for the week now.         On Monday, let's start at

24       9:00 a.m.    We do have one timing issue on Monday.            And I think

25       we are -- can't sit a full day on Monday.             I want to talk to
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1        one of the jurors and have the deputy clerk to ask one of the

2        jurors to figure out exactly how late in the day we can sit.

3        We will go at least until lunch.          We will go as late as we can,

4        but we'll have to just see.          But I think we will probably be

5        letting you go a little bit early on Monday.              And then continue

6        Tuesday, Wednesday and Thursday, we'll be sitting full days.

7                    So have a nice weekend.         Don't discuss the case with

8        anybody at all.      Your fellow jurors, anybody at home.            If

9        anybody asks you about it, stick to the script.               It is just a

10       criminal case.       You can't say anything else about it.           And

11       don't conduct any type of research in any way relating to the

12       case.    And I hope it is a nice weekend and you enjoy

13       yourselves.    I do very much appreciate how attentive you have

14       all been.    So thank you for that.         And I will see you all on

15       Monday.

16                   (Jury out at 12:40 p.m.)

17                   THE COURT:     All right.     And the witness I will see

18       you back here on Monday as well.          I will ask that you not

19       discuss your testimony with anybody until it is complete.

20                   THE WITNESS:     Yes, sir.

21                   THE COURT:     Anything we want to raise?          I mean, I

22       know we do have to talk as well about the issues regarding the

23       scope of the Verret testimony.          And I am not quite sure the

24       best time to do that.       It may be that what we should do is let

25       the government finish up and, you know, obviously, with your
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1        cross on Monday.      Then take a break after the government rests,

2        talk about that and then start with the defense case.              Does

3        that make sense?

4                    MS. PELKER:    Your Honor, my only concern is that it

5        is literally 10 more minutes of testimony for this witness.                  I

6        just don't want us to lose too much time Monday.             Does the

7        Court have any time this afternoon?

8                    THE COURT:    Let me see.     It is pretty bleak, but

9        let's take a look.

10                   MS. PELKER:    We could come in early before the -- I

11       understand that imposes on the court staff and court reporter.

12                   THE COURT:    Right.    I certainly need the deputy clerk

13       for that.

14                   You know, I tell you what, why don't you all come

15       back today to discuss those issues at 3:30.            I do have a -- I

16       have two motions hearings and will move through them as quickly

17       as I can.    But if you can be available by 3:30, I will free up

18       as soon as I can and we can take those issues up then.

19                   MS. PELKER:    Thank you, Your Honor.

20                   MR. EKELAND:    One other thing, Your Honor.

21                   THE COURT:    Yes.

22                   MR. EKELAND:    Mr. Sterlingov and Mr. Fischbach wanted

23       to view the devices.      And so we are just asking that the Court

24       instruct marshals to allow Mr. Sterlingov to review the

25       devices.    Well, he has to be here at 3:30.
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1                    THE COURT:    I'm sorry?

2                    MR. EKELAND:    He has to be here at 3:30.           So we

3        just -- the logistical issue is him and Mr. Fischbach want to

4        review the devices from the government.              And Mr. Fischbach

5        wants Mr. Sterlingov present.        So we don't want to have any

6        issues with the marshals about that.

7                    THE COURT:    Why don't I leave this up to the

8        marshals.    If there is any questions the marshals have, I will

9        be in chambers or here on the bench.          You come in and raise any

10       questions with me.

11                   MR. EKELAND:    Thank you, Your Honor.

12                   THE COURT:    Thank you.

13                   All right.    Thank you all.

14                   (Recess taken at 12:43 p.m.)

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1                                 C E R T I F I C A T E
2

3                    I, SHERRY LINDSAY, Official Court Reporter, certify
4        that the foregoing constitutes a true and correct transcript of
5        the record of proceedings in the above-entitled matter.
6

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10                                   Dated this 2nd day of March, 2024.
11

12                                   ________________________
                                     Sherry Lindsay, RPR
13                                   Official Court Reporter
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 BY MR. PEARLMAN: [23] 10/11
                                   .5 grams [3] 96/25 105/1 105/9        2011 [3] 10/1 41/20 43/8
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 BY THE COURT: [2] 25/25 103/16
                                   10  grams   [2]   73/12 97/5          208A [7] 3/7 12/16 12/18 13/4
 MR. EKELAND: [105] 4/10 5/8 5/15
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